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 1                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
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        - - - - - - - - - - - - - - - x
 3      THE UNITED STATES OF AMERICA,
                                              Criminal Action No.
 4                      Plaintiff,            1:14-cr-00141-CRC-1
                                              Thursday, October 26, 2017
 5      vs.                                   11:06 a.m.

 6      AHMED SALIM FARAJ ABU KHATALLAH,

 7                    Defendant.
        - - - - - - - - - - - - - - - x
 8                            *MORNING SESSION*
         ____________________________________________________________
 9
                          TRANSCRIPT OF JURY TRIAL
10             HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
                        UNITED STATES DISTRICT JUDGE
11      ____________________________________________________________

12      APPEARANCES:

13      For the United States:       JOHN CRABB, JR., ESQ.
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23      (Continued on Next Page)

24      Proceedings recorded by mechanical stenography; transcript
        produced by computer-aided transcription
25
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 1      APPEARANCES (CONTINUED):

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 1                                    I N D E X

 2
        WITNESS                                                         PAGE
 3
        MARK GEIST
 4          (By Mr. Shweiki).................................. 3534
            (By Mr. Robinson)................................. 3627
 5          (By Mr. Shweiki).................................. 3635

 6      SERGEANT WILLIAM BRIGHAM
            (By Mr. Shweiki).................................. 3638
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 1                            P R O C E E D I N G S

 2                  THE COURTROOM DEPUTY:     Your Honor, we're back on

 3      the record for Criminal Case 14-141, United States of

 4      America vs. Ahmed Salim Faraj Abu Khatallah.

 5                  THE COURT:   So we're proceeding with Mr. Geist?

 6                  MR. DiLORENZO:    Yes.

 7                  THE COURT:   Is he here?

 8                  MR. SHWEIKI:    That's correct, Your Honor.         Mark

 9      Geist this morning.

10                  THE COURT:   Oh, Mr. Shweiki.

11                  MR. SHWEIKI:    Good morning.

12                  THE COURT:   Good to hear from you.

13                  MR. SHWEIKI:    Good to hear from you.

14                  THE COURT:   All right.    For the record, the Court

15      will deny the defense's motion for reconsideration of the

16      admission of the phone records, and we will issue something

17      in writing probably later today explaining our reasoning.

18      Okay?

19                  And was Mr. Geist a collaborator in the book as

20      well, or no?

21                  MR. SHWEIKI:    I don't think "collaborator" is the

22      right word, Your Honor.      I think he was a co-author though.

23                  THE COURT:   Right, co-author.      I thought we

24      decided on "collaborator" yesterday?

25                  MR. ROBINSON:    He described himself as a
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 1      collaborator.

 2                  THE COURT:   Okay.    Maybe that affects the

 3      royalties you get, huh?

 4                  MR. SHWEIKI:    Your Honor, is it okay if Mr. Geist

 5      takes the stand right now?

 6                  THE COURT:   Sure.    Step right up.    Just stand up

 7      when the jury comes in, and then we'll swear you in once

 8      the...

 9                  THE WITNESS:    Okay.

10                  (Pause)

11                  THE COURT:   Mr. DiLorenzo, please pass on our

12      regards to Ms. Himelstein.

13                  MR. DiLORENZO:    Absolutely.

14                  (Jury enters courtroom)

15                  THE COURT:   All right.    Good morning, everyone.

16                  JURY IN UNISON:    Good morning.

17                  THE COURT:   Ready to go today?

18                  JURY IN UNISON:    Yes.

19                  THE COURT:   All right.    You have no doubt noticed

20      that the person in the witness stand is not Agent Clarke.

21      We have once again shifted gears slightly in order to keep

22      things moving along to accommodate a couple of witnesses

23      who are in from out of town, and so we are going to defer

24      the remainder of Agent Clarke's direct examination and

25      cross-examination until those witnesses conclude, and so
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 1      Mr. Shweiki, I understand, will be calling the government's

 2      next witness.

 3                  MR. SHWEIKI:    Thank you, Your Honor.

 4                  Your Honor, at this time the government calls Mark

 5      Geist.

 6                  THE COURT:   Okay.    Sir.   Could you stand and raise

 7      your right hand.

 8                  Please proceed.

 9                               MARK GEIST, Sworn

10                               DIRECT EXAMINATION

11      BY MR. SHWEIKI:

12      Q.   Good morning.

13      A.   Good morning.

14      Q.   Will you say your full name for the record, please, and

15      spell it as well.

16      A.   Mark Geist, M-A-R-K, G-E-I-S-T.

17      Q.   Mr. Geist, I'd like to ask you, do you have a nickname

18      that you go by?

19      A.   Oz.

20      Q.   And also, with respect to your work, I'd like to direct

21      your attention specifically to September 11, 2012.          Where

22      exactly were you working at that time?

23      A.   Benghazi, Libya.

24      Q.   What exactly were you doing at that time?

25      A.   I was working for GRS with -- protecting case officers
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 1      for the CIA.

 2      Q.   When you say "CIA," is that the Central Intelligence

 3      Agency?

 4      A.   Yes, sir.

 5      Q.   What exactly is GRS?

 6      A.   It's global response staff.

 7      Q.   Can you briefly describe what was the nature of your

 8      responsibilities on that day, on September 11, 2012.

 9      A.   My job was to protect case officers as a security -- as

10      a bodyguard or as a security guard.

11      Q.   Did you have prior experience with security-related --

12      in the security-related field?

13      A.   Yes, sir.

14      Q.   Can you please provide the ladies and gentlemen of the

15      jury a brief overview of your relevant experience with

16      regard to that position.

17      A.   I served in the Marine Corps from 1984 to 1996.            After I

18      got out, I was in law enforcement for about six years, and

19      then in 2004 I started as -- on protective details for the

20      State Department, protecting State Department personnel in

21      Iraq and Afghanistan.

22      Q.   With respect to September 11, 2012, did the fact that it

23      was that particular day factor into your calculus as to the

24      particular security precautions that you were going to take?

25      A.   Yes.   We had decided that we wouldn't be really doing
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 1      any extra movements outside of the Annex.

 2      Q.   Did you end up making any movements outside of the

 3      Annex?

 4      A.   Yes, I did.

 5      Q.   And at approximately what time was that?

 6      A.   At approximately -- I think it was about 6:30, 7:00 in

 7      the evening, me and a female case officer had to go on a

 8      dinner date.

 9      Q.   Did you actually complete that particular movement as

10      scheduled?

11      A.   It got interrupted about two-thirds of the way into it.

12      About 9:30/9:35, I think it was.       Somewhere around there.

13      Q.   How did it get interrupted?

14      A.   I received a phone call from Tyrone Woods, who was our

15      team leader, and he had called me on my cell phone and said,

16      "Hey, there's something going on at the consulate.          You need

17      to get back to the Annex right now."

18      Q.   Had you worked with Tyrone Woods before?

19      A.   Yes.    I'd been working with him for the last almost,

20      like, 45 days.

21      Q.   Let me actually direct your attention to what has been

22      previously admitted as Government's Exhibit 3.          Do you

23      recognize what that's a photograph of?

24      A.   Yes.    That's Tyrone.

25      Q.   What did he tell you during the course of that phone
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 1      call?

 2      A.   He just said to stay away from the consulate and just

 3      get back to the Annex.

 4      Q.   Did he give you any particular information about why you

 5      needed to stay away?

 6      A.   No, not at that time.     It was an unsecured cell phone,

 7      so he didn't want to give me any information.

 8      Q.   What did you do after receiving that call?

 9      A.   I had gathered up the female case officer that I was

10      with, got her into the car, and then turned on our radio,

11      which was secure communications, and then started listening

12      to what was transpiring over the radio.

13      Q.   What kind of communications were you receiving on the

14      radio?   Where was it coming from?

15      A.   Primarily coming from the State Department guys.           They

16      had one of our radios as well so we could have

17      communications with them, and I heard gunfire, explosions

18      from an RPG, both AK fire and probably RPK or PKM fire,

19      which is a belt-fed machine gun.

20      Q.   So you talked earlier about securing the Annex.            Can you

21      please just orient the jury with regard to the State

22      Department officials.      What exactly were the facilities that

23      they were in?

24      A.   The State Department was at the consulate, which was

25      approximately -- I think it was eight to nine acres, is my
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 1      guess, and that's where the ambassador would stay when he

 2      was in residence, and that's where the five security guards

 3      that were detailed to protect the ambassador would stay as

 4      well.

 5      Q.   As part of your security duties, were you actually --

 6      had at any related duties with regard to the security of the

 7      state facility as well?

 8      A.   No, not directly at all.

 9      Q.   What about any indirect duties?

10      A.   They had asked us to kind of assist if we -- they needed

11      us for when the ambassador was in country because they had

12      limited security personnel.

13      Q.   With regard to the fire that you actually received

14      hearing about that occurred over the course of the radio,

15      what was the intensity of that particular fire and

16      explosions that you were hearing?

17      A.   It was pretty intense, and you could tell that they were

18      receiving a lot of gunfire.       You could hear, from the voice

19      of the security guys there, the panic or near panic in their

20      voice.    It was -- we had started leaving the compound that

21      we were in and driving back to the Annex, and over the radio

22      one of the guys came over and said, "If you guys don't get

23      here now, we're all going to fucking die."

24      Q.   So I take it that you used that language because that's

25      the words that were actually said?
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 1      A.   Yes.    That was the exact words that were said.

 2      Q.   What were your thoughts at that time?

 3      A.   First thing going through my mind is that it's a pretty

 4      bad situation over there, and my biggest concern at that

 5      point was making sure I got the female case officer that was

 6      with me back to the Annex as soon as possible and as safe as

 7      possible.

 8      Q.   What was the general -- did you alter your route in any

 9      way considering the type of radio traffic that you were

10      receiving?

11      A.   Yes, because I didn't want to go anywhere near the

12      Annex.    So I ran -- kind of headed down the coast and then

13      came in from the backside of where I normally wouldn't have

14      unless there was something like this to the Annex.

15      Q.   And why did you actually take that different route?

16      A.   One is to stay away from the main arteries that were

17      flowing through town in what we call the Ring Roads, and

18      also to stay away from any impromptu checkpoints that might

19      get put up in a situation like this.

20      Q.   During the course of your travel back, did you actually

21      encounter any checkpoints along the way?

22      A.   Yes.    It was right before you would come up to what we

23      called the Gunfighter and Racetrack Road heading up towards

24      Fourth Ring.     There was an intersection right there where I

25      had to turn left -- or turn right, I'm sorry, and they had
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 1      set up -- just started setting up an impromptu checkpoint.

 2                  There were a couple of vehicles that had pulled

 3      up, and an individual in civilian clothes had stepped out.

 4      He had an AK, and he was kind of stopping traffic.           And when

 5      he was distracted by one of the cars that he was looking

 6      into, I just kind of took a right turn and just kind of

 7      stayed out of his way so he wouldn't stop me.

 8      Q.   Did you have to stop for that particular checkpoint?

 9      A.   No, I didn't.    I just kind of stayed to the side of the

10      road, took a right, and just continued over to the Annex.

11      Q.   You referred to the words "AK."       What exactly does that

12      mean?

13      A.   It's a Kalashnikov AK-47, 762 by 39 caliber

14      semiautomatic assault rifle.

15      Q.   Let me direct your attention to what's been previously

16      admitted as Government's Exhibit 142.         Do you recognize what

17      exactly this is in front of us here?

18      A.   Yes.   That's an overhead view of the area surrounding

19      the consulate and the Annex or, as you have on here, the

20      U.S. Special Mission and as well as what we called Racetrack

21      there at the bottom of it.

22      Q.   Do you actually see the area where you mentioned that

23      there was the impromptu checkpoint that was set up at that

24      time?

25      A.   Yes.   It's in the bottom left-hand corner.        There's an
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 1      intersection right there where, coming up towards Racetrack,

 2      the road running right in front of what looks like the

 3      racetrack -- it was a horse track where they would run

 4      racehorses on I think it was Fridays -- and it intersects

 5      with what we called -- on here it's Shari Al Andalus, which

 6      we called Gunfighter, that intersection right there.

 7      Q.   Could you please use the touch screen function on the

 8      screen in front of you to actually circle the area that

 9      you're actually talking about.

10      A.   (Witness complies)

11      Q.   And you circled the intersection of the two major

12      crossroads in the bottom left-hand corner?

13      A.   Yes, sir.

14      Q.   And where exactly is the racetrack that you referred to?

15      A.   The racetrack is right here.

16      Q.   And for the record, you're referring to the oval area in

17      the right-hand middle section of the map; is that right?

18      A.   Yes.

19      Q.   So after you actually went through that particular

20      checkpoint, what happened next?

21      A.   We came up and then took the first major road, which is

22      right here, and then took a left, and then came up and then

23      took another left and came into the Annex.

24      Q.   With respect to the actual arrival at the Annex itself,

25      what was the nature of the feeling at that particular time?
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 1      A.   When I pulled into the Annex, it was a little bit of --

 2      just a little bit of chaos.       The security team that I was a

 3      part of, the rest of our team, had already left, and I had

 4      taken over -- my job then was to take over security there at

 5      the Annex and keep track and keep safe the number of

 6      personnel that were in the Annex at that time.

 7      Q.   So you said that it was your job to actually take

 8      control of security.

 9      A.   Correct.

10      Q.   Why exactly was that?

11      A.   That was -- that was my job in security, and I was the

12      highest-trained security at the -- or security individual at

13      that time that was there.

14      Q.   So who did you actually speak with in order to get an

15      adjustment as to what the situation was?

16      A.   I went up and spoke to the chief of base and one of the

17      other case officers because they had been on the telephone

18      off and on and got an idea of what was going on, got an

19      update to the security situation over at the consulate as

20      well as the location of everybody within our Annex as well.

21      Q.   What was your understanding as to what the security

22      situation was?

23      A.   It was briefed to me that the consulate had been overran

24      by approximately 40 armed individuals, and that our team had

25      made their way over and was going to split up into two teams
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 1      to kind of be able to go on and push off those individuals.

 2      Q.    So when you said "our team," who are you referring to?

 3      A.    I'm referring to Tig and Tonto, Tyrone, Jack, and DB.

 4      Q.    Were those other GRS individuals?

 5      A.    Yes, I'm sorry.    Yes, they were other GRS individuals.

 6      Q.    At that point in time did you have a plan in place as to

 7      how the facility would be secured?

 8      A.    Yes.   Because a lot of times in our downtime we would

 9      discuss different ideas on how situation -- situations on

10      how things would happen just so we were prepared in case --

11      there was only a few of us there, and we would always kind

12      of -- one of us would come up with an idea, if you were the

13      bad guy, how would you attack our facility, and the rest of

14      us would discuss how we would defend against that just so we

15      were prepared ahead of time for anything that might happen.

16      Q.    So what was the protocol that you actually, then,

17      followed when you arrived?

18      A.    The first thing from my protocol is to, one, locate

19      everybody and ensure that they're -- where their location

20      is.   I asked all of them to get into our headquarters

21      building or what we called Building 3, and then I asked one

22      of the other case officers to kind of monitor anybody coming

23      in and out of there so I could keep track while they're on

24      our facility.     If they needed to go get something, let them

25      go one at a time.
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 1                  That allowed me to make sure if somebody came over

 2      the wall without me being able to see it, then I knew that

 3      it was a bad guy and not somebody that was one of ours just

 4      roaming around between buildings.

 5      Q.   What was the significance of Building 3?

 6      A.   Building 3 was our headquarters building, or what we

 7      called our tactical operations center.         It's where our

 8      primary -- the chief of base would work out of.

 9      Q.   Let me direct your attention to what's been previously

10      admitted as Government's Exhibit 141.         Do you actually see

11      Building 3 located there?

12      A.   Yes.   It's right here.

13      Q.   And why was that important in terms of security function

14      of the protocol at that particular point in time?

15      A.   Well, that was our headquarters building where we had

16      most of our communications; and the other thing it provided

17      us is the elevation from on top of that allowed me to see

18      what we called Zombie Land, and I could have a visual

19      coverage from here coming all the way out to here and all

20      the way through here.

21      Q.   And why were those areas of concern for you?

22      A.   Those were the major avenues of approach where someone

23      could possibly attack us from.

24                  The other side you were kind of channelized with

25      the houses on this side.       You either had to come down the
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 1      main road right here -- and then we had another house over

 2      here.    So it was very difficult to get through that and

 3      actually have a distance to get into it, so this allowed

 4      most avenues of approach for bad guys to come in.

 5      Q.   And approximately what time is this?

 6      A.   About 10:30 probably, quarter of 11:00, somewhere in

 7      that vicinity right now.

 8      Q.   At that point in time were you the only GRS official

 9      that was on the actual Annex compound itself?

10      A.   Yes.

11      Q.   What other security precautions did you take with

12      respect to securing the facilities?

13      A.   We had different locations where we had identified

14      that -- when all of us would be there where we might have

15      fighting positions or positions to defend from, and I made

16      sure that we had ammunition at those.

17                  Because we prestaged that prior to, up on top of

18      the rooftops we had cans of ammo just in case.          So as an

19      individual, me being there by myself, I could move from

20      position to position and fire and make myself appear to be a

21      whole lot more than what was there.

22      Q.   At that particular point in time, were you aware if

23      there was any sort of reinforcements or other GRS officials

24      that were going to come in to help shore up the security

25      situation at the Annex itself?
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 1      A.     At that time, no.   I didn't have any idea if there were

 2      any other assets that were going to be coming in to help us

 3      with security.

 4      Q.     So what did you do during the course of that time?

 5      A.     I just maintained vigilance in keeping track of what's

 6      going on outside our perimeter.

 7                   And then from the top of Building 3 I could also

 8      see what was going on at the consulate, at least from the

 9      distance.    You could see the billowing smoke coming up, and

10      you'd see the reflection of the fire through that smoke and

11      also see tracer fire.      And you'd hear explosions and gunfire

12      during that time period as well.

13      Q.     What was the intensity of the actual gunfire and

14      explosions at that particular point in time?

15      A.     There was less explosions.     Most of it was small arms

16      fire, either from AK-47s and then once in a while there was

17      a dushka, which is a 12.7 millimeter heavy machine gun.          You

18      could see the tracers flying across the sky over top of the

19      consulate.

20      Q.     With respect to the smoke coming out, do you actually

21      recall what was the intensity of the smoke that you actually

22      saw?

23      A.     It was very intense.    I mean, it could -- it blotted out

24      a lot of what you could see, what would be the lights from

25      that area coming from the consulate and the city around it.
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 1      Q.   And did you mention tracer fire?       Is that something that

 2      you actually mentioned at that point in time?

 3      A.   Yes.

 4      Q.   What exactly is that?

 5      A.   Tracer fire -- it depends on which caliber you're using,

 6      but it's approximately every third to fifth round, and in

 7      the back -- in the actual round itself, on the back of it,

 8      it has a chemical in it that burns; so me, as the guy

 9      shooting, I can see the where bullets are going, and it just

10      allows you to identify your fire from enemy fire.

11      Q.   Based upon your experience, did you have some sense of

12      what kind of weapons that they were using with respect to

13      that fire?

14      A.   Yes.    Because of the sound of it, I could tell a Dushka,

15      which is equivalent to what we have as a 50-caliber machine

16      gun, and you could hear that because the rate of fire is a

17      lot slower.    And the rate of fire on a Kalashnikov AK-47 is

18      slower than it is from, like, an M16 or something like that.

19      Q.   At that point in time were you getting any news as to

20      what was happening at the consulate itself?

21      A.   I would have -- just on my radio I would hear what

22      they're doing.     I didn't want to get on the radio to

23      interfere with anything over there, so I was letting them

24      communicate between our team.

25                   And Tonto and DB had moved to provide cover fire
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 1      while Jack, Tig, and Tyrone made their way down the front

 2      street in front of the consulate and came through the front

 3      gate.

 4      Q.   With regard to those particular security personnel, that

 5      means that they're actually still at the consulate itself at

 6      the time?

 7      A.   Yes.

 8      Q.   Did you have any information as to what was happening

 9      with regard to the State Department individuals?

10      A.   No, I didn't.

11      Q.   Did there come a time that you actually received news as

12      to their situation?

13      A.   Yes, there was, and I'd be guessing at the time.            I

14      didn't have a watch on that night, but probably around

15      11:30ish it came over the radio that they were going to be

16      leaving the consulate and making their way back over to the

17      Annex.

18      Q.   And did you actually have any sort of sense as to when

19      they actually were leaving the consulate compound itself?

20      A.   Well, it was right after I -- probably 30 seconds to a

21      minute after I got that radio call that they were heading in

22      our direction.     You could hear a lot of gunfire, and it

23      sounded like to me AK-47 fire.

24                  And it wasn't at the consulate.       It was further

25      down the road.
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 1                  And then I heard the screeching tires.        And where

 2      that fire was coming from indicated to me the route that

 3      they were taking, and they must have ran into some bad guys

 4      and got ambushed on the way over to the Annex.

 5      Q.   At that particular time, before you actually hear them

 6      coming your way, did you receive any information as to

 7      whether the Annex was actually in danger itself?

 8      A.   Yes, we had.    I can't remember the exact time because we

 9      had some local guys that we used for security as well at the

10      Annex at the front gate.       So if anybody ever came to our

11      front gate, there was a local person they might see, a

12      Libyan, who could speak to them directly.         And the guy that

13      was in charge of the three or four guys that we had had came

14      over, knocked on our front gate, and asked to speak to our

15      chief of base.

16      Q.   So was that an individual that you were aware of before?

17      A.   Yes.   I knew who he was.

18      Q.   Did you actually let him into the compound?

19      A.   Yes, I did.    I let him in.     Searched him.    He had a

20      pistol on him.     I was comfortable with him and that because

21      I did know who he was, and he was semitrusted or as trusted

22      as you could have anybody over there.

23                  And he wanted to talk to Bob, and I asked him what

24      he wanted to talk about -- or he wanted to talk to our chief

25      of base, and he said that we needed to get out of there and
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 22 of 145         3550


 1      leave soon because they were going to come after us next.

 2      Q.   What did you take that to mean?

 3      A.   That the militias that were attacking over at the

 4      consulate were going to come over and attack the Annex yet.

 5      Q.   And what was his general demeanor when he was saying

 6      that to you?

 7      A.   He was scared.     I mean, very scared.     He was very kind

 8      of panicked in his voice.       He was ready to leave.     He didn't

 9      want to stay long, but he felt like he had kind of an

10      obligation to let us know what was happening.

11                  So once he had let me know that, I talked to our

12      chief of base.     Our chief of base came out and talked with

13      him with me there, and then they chose to -- he left right

14      away and took off with his three guys.

15      Q.   So did you heed his advice and begin packing up to leave

16      at that particular point in time?

17      A.   No, because at that point in time our safe -- the safest

18      thing for the number of people that we had in the vehicles

19      and the assets that we had and the fact that we had our

20      security personnel or part of our security team over at the

21      consulate, we were going to stay where we were at.           We felt

22      pretty comfortable of defending our location.

23                  We had a shipment of ammo that had came in

24      recently.    We had plenty of food, plenty of water.         The only

25      thing that we couldn't really defend against would be
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 23 of 145   3551


 1      indirect fire.

 2      Q.   How long after that particular conversation did you

 3      actually learn that the State Department individuals,

 4      employees, were actually coming your way?

 5      A.   Probably, I'm guessing, 20, maybe 30 minutes, somewhere

 6      in that vicinity.

 7      Q.   And you described that there was actually -- you could

 8      actually hear them coming itself?

 9      A.   Yes.

10      Q.   And in what direction did you actually hear those

11      particular sounds?

12      A.   You know, if I'm facing north, which is on top of

13      Building 3 towards what we called Zombie Land, and that's

14      the direction of the consulate, you could hear them coming

15      from kind of the northeast and what we called Adidas Road.

16      Q.   Can I actually direct your attention back to

17      Exhibit 142.

18      A.   Yes, sir.

19      Q.   If you could, please just use the touch screen to

20      actually say where exactly you were and where actually you

21      heard the sounds coming from.

22      A.   I was right here at the Annex, and shortly after they

23      left the Special Mission, or the consulate, they came down

24      this way and I began hearing fire again, like I said,

25      directly almost like to my north, which would have been in
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 24 of 145       3552


 1      this area right here, and then again in this direction right

 2      here.

 3                   They would have had to make a left turn and

 4      then come back right to come down here and then come into

 5      the Annex.    And this whole area right in here is where they

 6      were -- where it sounded like they were getting ambushed at.

 7      Q.   So you say it sounded like they were getting ambushed.

 8      What was the intensity of the actual fire that you were

 9      hearing?

10      A.   I mean, I'd have -- it was several, probably eight or

11      nine, at least, AK-47s firing on full automatic.          I mean,

12      just really intense.      It's hard to describe exactly.         I

13      mean, it was steady gunfire for probably a couple of

14      minutes.

15      Q.   Did you actually hear them approaching the Annex?

16      A.   Yes.    Once they -- you know, we kind of knew that when

17      they turned.     I started hearing what -- it was like the flop

18      in the flat tires, and it was just like flop-flop and what

19      sounded like all their tires had been shot out.

20                   And when they pulled into the front gate, that's

21      when I noticed all four tires had been shot out.

22      Q.   What was the condition of the vehicle when you actually

23      saw them come in?

24      A.   It was shot up pretty bad.       The front wind screen or the

25      front windshield had approximately 15 or 20 -- at least 15
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 25 of 145   3553


 1      or 20 bullet holes, up and down both sides probably 20 or 30

 2      bullet holes.     Luckily they were in an armored vehicle.

 3      Q.   Are you aware if there's actually cameras that are set

 4      up for the Annex itself?

 5      A.   Yes, there were.

 6      Q.   And what kind of cameras are those?

 7      A.   The make and model, I don't know.

 8      Q.   Do they run continuously?

 9      A.   As far as I know, they do.

10      Q.   And are they set up throughout the compound itself?

11      A.   Yes.   They cover both the outside and some of the inside

12      avenues of approach and visual.

13      Q.   Did you have the opportunity to review any video in

14      preparation for today's testimony?

15      A.   Yes, I did.

16      Q.   And are you aware, was there any video that actually

17      covered the point in time where actually the Department of

18      State individuals came into the compound itself?

19      A.   Yes, there was.

20      Q.   Let me show you what's been marked for identification

21      purposes as Government's Exhibit 305-2.

22                  (Video playing)

23      Q.   On the screen in front of you, is that the video that

24      actually you were referring to as 305-2?

25      A.   Yes, sir.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 26 of 145   3554


 1      Q.   And is it a fair and accurate representation of what you

 2      recall seeing on that particular day?

 3      A.   Yes.   This is -- the individual down here at the bottom

 4      is me.

 5                  MR. SHWEIKI:    Before we get into further

 6      explanation --

 7                  THE WITNESS:    Oh, I'm sorry.

 8                  MR. SHWEIKI:    -- Your Honor, at this time the

 9      government moves into evidence Government's Exhibit 305-2.

10                  MR. ROBINSON:    No objection.

11                  THE COURT:    So moved.

12                  MR. SHWEIKI:    And, Your Honor, at this point in

13      time can we please have it published for the jury itself?

14                  THE COURT:    You may.

15      Q.   And Mr. Geist, as the jury's actually watching this

16      particular video, if you can please orient the jury to what

17      exactly they're viewing and where exactly you are with

18      respect to the particular video itself.

19      A.   This is a camera that was on top of Building 3 facing

20      south to our front gate, and I'm coming out from right in

21      front of the Building 3 out into the courtyard area, and I

22      observe the State Department vehicle pull in through the

23      front gate.

24      Q.   Can you please circle where exactly you are in this

25      particular video.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 27 of 145   3555


 1      A.   (Witness complies)

 2      Q.   And where exactly is the State Department vehicle coming

 3      into the compound itself?

 4      A.   The State Department vehicle is right here at the front

 5      gate.

 6      Q.   And why are you actually -- is it coincidence, or are

 7      you actually planning to be actually there to greet them?

 8      A.   No.    I had been up on top of Building 3, and I had moved

 9      down as they came in because they had just been ambushed.

10      My first thing is I'm worried about medical, if they're

11      going to be injured.

12                   And as they pulled in I'm directing them where I

13      wanted them to park as well so, if there were any injured,

14      how I could take care of them most effectively.

15      Q.   And let's continue with the video itself.

16                   (Video playing)

17                   MR. SHWEIKI:   And if I can actually just back it

18      up again, just for clarity of the record, so the jury can

19      actually see what we're viewing.

20      Q.   At that particular point in time it appears that you're

21      making some motions with your hand; is that right?

22      A.   Yes.    I wanted them to -- what would be turn to their

23      right or to my left or to your left as you're looking at the

24      camera.     I wanted to keep the front of Building 3 opened up.

25      And if they would have pulled around what we called Turtle
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 28 of 145    3556


 1      Circle, then -- we used to have some turtles out there.

 2      That's why we called it that.       But they would go out and

 3      stay to the side so I could bring them into the medical

 4      room, which was in Building 3 as well.

 5      Q.    So why were you actually trying to direct them into the

 6      medical room, if necessary?

 7      A.    In case there was anybody that was injured.

 8      Q.    Are you aware, at that particular point in time, if

 9      there was any concern that they had with regard to coming

10      into the Annex itself?

11      A.    At that point, no.    I didn't have any updated

12      information whether they were or were not injured.

13      Q.    Let me continue with the video itself.

14                  (Video playing)

15      Q.    After they come into the compound itself, what do you

16      do?

17      A.    After they come in, the team leader and -- from State

18      Department and his guys get out.        Scott, which was one of

19      their security guys, he was pretty, I would say, combat

20      ineffective.     He had -- you could tell he had been inside a

21      lot of smoke, had a lot of smoke inhalation.          He was

22      coughing up a lot.      His whole face is black except where his

23      eyes are; they're just white.       And he's got a lot of dark

24      black around his nose and his mouth where he had been

25      inhaling smoke.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 29 of 145   3557


 1                  And he was just -- I mean, he couldn't quit

 2      coughing so I had him go straight into Building 3, and the

 3      team leader also went into Building 3 to update and make any

 4      radio comms or do what he needed to do.

 5                  The other three individuals asked what they could

 6      do, and I assigned them defensive positions on top of

 7      Building 2 and Building 1 and Building 3.

 8      Q.   Let me direct your attention back to Government's

 9      Exhibit 141.     Which were the buildings -- so if you'll

10      actually just indicate where actually is the gate that they

11      actually drove into?

12      A.   They came in through this gate right here, pulled up,

13      come around again Turtle Circle there, and pulled up into

14      this area right here towards the front door.

15      Q.   And where are the buildings that you actually directed

16      the individuals to get to the roofs on?

17      A.   I had one up on Building 4 so he could cover the west

18      avenues of approach and kind of the west -- the northwest

19      through this area.

20                  I had one other get up on Building 3 to cover the

21      north and northeast areas.       This direction.

22                  Building 4 was covering this area.        And then

23      Building 2 could cover everything out this way and --

24      Q.   So when you say "out this way," is that a southeasterly

25      position?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 30 of 145   3558


 1      A.   That would be, yes, the southeasterly position.

 2      Q.   And at that point in time did you have any further

 3      information as to what was happening with the GRS

 4      individuals that were at the State Department facility?

 5      A.   No, not at that time.

 6      Q.   So what was your plan of action after the Department of

 7      State individuals actually took their positions on the

 8      rooftops?

 9      A.   It was just to keep the security -- the facility secure

10      until the remaining GRS personnel could make their way back

11      to the Annex.

12      Q.   And where did you actually station yourself?

13      A.   I moved back up on top of Building 3, which gave me the

14      best advantage of 360 degrees around the Annex.

15      Q.   Did there come a particular point in time that the GRS

16      individuals actually came back?

17      A.   Yes.   It was shortly after the State Department

18      personnel had arrived.      They had said they had gathered up

19      all the sensitive material over there --

20                  MR. ROBINSON:    Objection, Your Honor; hearsay.

21                  THE COURT:    Sustained.

22      Q.   Without describing what exactly they did in terms of

23      what they told you, what did you hear?         What did you --

24      A.   I heard that they were getting ready to leave the

25      consulate and head back to the Annex.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 31 of 145    3559


 1      Q.   After you received -- was that through the radio

 2      communication or a phone call?

 3      A.   Radio communications.

 4      Q.   After you received that radio communication, what

 5      happened next?

 6      A.   Shortly after that, probably a minute or two, they

 7      arrived back at the Annex.

 8      Q.   What was the state of the situation when they arrived?

 9      A.   They had came back, and Tyrone asked where anybody that

10      was injured was.     Scott was inside, so Tyrone, he was our

11      medic -- he's also a registered nurse -- and he went in to

12      treat Scott.

13                   The remaining guys --

14      Q.   When you say "Scott," who is that?

15      A.   State Department, Scott Wickland.

16                   And the remaining guys from the GRS team took up

17      positions.    They asked me where I had put guys.        I told

18      them, and then they just filled in where they knew they

19      needed to go.

20      Q.   When they arrived back at the Annex facility, what was

21      the course of action?      What was the plan?

22      A.   At that point our course of action was to reinforce our

23      positions because we expected them to be coming to us next.

24      Q.   And why did you expect them to be coming to you next?

25      A.   One is after the State Department personnel coming over
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 32 of 145       3560


 1      had got ambushed, we figured they would follow them back to

 2      our location.     And now that there was nothing left over at

 3      the consulate -- they had informed me that they couldn't

 4      find the ambassador's body, and we had one casualty from

 5      there, which was Sean Smith, who was the information officer

 6      for the ambassador.

 7      Q.   Did you know Sean Smith?

 8      A.   No, I didn't.

 9      Q.   At that point in time had the Annex facility itself come

10      under attack, as far as you were concerned?

11      A.   No, uh-uh.

12      Q.   So how did you actually, then, fortify the positions to

13      actually secure it with GRS individuals?

14      A.   Tonto and DB took a position on top of Building 2 with

15      one of the State Department personnel.

16      Q.   Mr. Geist, if I can just direct your attention to

17      actually the video -- excuse me, the ELMO screen again, and

18      if you could just actually, as you're talking, direct us to

19      where exactly the various individuals took positions.

20      A.   Tonto and DB took over Building 2.        Dave was already up

21      on Building 3.

22      Q.   When you say "Dave," who is that?

23      A.   Dave Ubben.

24      Q.   Was he GRS or State Department?

25      A.   No, he was State Department.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 33 of 145           3561


 1                  One of the State Department security guards was on

 2      Building 4, and Jack also went up on Building 4.          And then

 3      Tig had taken over the elevated fighting position in the

 4      southeast corner, and I took over an elevated fighting

 5      position in the northeast corner.

 6      Q.   Were those predesignated spots that you had actually

 7      discussed earlier prior to that day?

 8      A.   Yes.   I believe Tig was in what we called Tower 2.

 9                  I think Tower 1 was beside the front gate.           Tower

10      2 is in the southeast corner.       Tower 3 is in the northeast

11      corner, and then I think Tower 4 was right here, and then

12      there was a Tower 5 over in this vicinity.

13      Q.   And what was the purpose of the towers that were

14      actually in the compound itself?

15      A.   They were really elevated above the top of the wall.

16      The wall was approximately 12 feet, 15 feet tall, and the

17      elevated position allowed us to be able to stand on that.

18                  You used the wall as protection from any enemy

19      fire coming to us, but also to be able to shoot over top of

20      the wall, should we need to.

21      Q.   Let me direct your attention to actually what's been

22      marked and entered into evidence previously as Government's

23      Exhibit 144-28.

24                  MR. SHWEIKI:    If I could have this published for

25      the jury, please?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 34 of 145      3562


 1                  THE COURT:    You may.

 2      Q.   Mr. Geist, do you actually recognize what exactly we're

 3      looking at here?

 4      A.   Yes.   We're looking to the east -- northeast, and this

 5      would be the elevated tower, Tower 3.

 6      Q.   So Tower 3 is -- is this a fair and accurate

 7      representation of what you recall it being on that

 8      particular night?

 9      A.   Yes.

10      Q.   And can you please describe -- there actually appears to

11      be a particular item here.       What exactly is that?

12      A.   That's one of the floodlights on the outer wall facing

13      out, and then on this pole right here is -- right there is a

14      camera.

15      Q.   Is that consistent with the type of cameras that were

16      used throughout the facility?

17      A.   Yes.

18      Q.   And when you actually went onto Tower 3, did anybody

19      join you at that particular tower?

20      A.   Tig eventually made his way over to that.

21                  Pretty much during the -- he was coming over to

22      bring some water and because there had been some downtime,

23      and we hadn't seen any movement.        And then, when we started

24      seeing movement out to the east, we had asked if we were

25      expecting any friendlies that might be in the area to come
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 35 of 145        3563


 1      over and assist, and we didn't get any confirmation on

 2      that so we were looking for -- we expected to get attacked

 3      with -- we had night vision goggles, so we were looking to

 4      see if we could see any firearms or anything that they were

 5      carrying.    And that's when we -- they started coming up

 6      through the bushes out there that you can see, and we

 7      started seeing them carrying AK-47s.

 8                  And Tig had made his way around, and he was coming

 9      over when the assault -- the first attack on the Annex

10      happened.

11      Q.   To assist with your explanation, let me direct you back

12      to Government's Exhibit 141.

13      A.   Uh-huh.

14      Q.   If you could just, again, orient us to where exactly

15      Tower 3 is.

16      A.   Tower 3 is right here.

17      Q.   And you mentioned that you actually saw that there was

18      some action which you were concerned about.          Where was that

19      coming from?

20      A.   We had heard vehicles pulling up into this parking lot

21      out here, and then we started seeing movement coming up

22      through here and then up through the center of this and in

23      these trees, right along this tree line right here.

24      Q.   At that point in time had the Annex facility come into

25      any attack?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 36 of 145    3564


 1      A.    No.   That's -- shortly after we saw them is when the

 2      first attack happened.

 3      Q.    Please describe that.

 4      A.    I was up in this tower, and, again, like I said, we

 5      started seeing movement coming up towards us so we were

 6      trying to identify if they had weapons or not, and if they

 7      were going to be -- you know, if they were truly attacking

 8      us.   I mean, because you would see people out on the streets

 9      all the time, so we just wanted to make sure that whoever --

10      if we were going to engage somebody, they were going to be

11      armed and attacking us.

12                   About that time we started receiving some small

13      arms fire.    An individual had snuck up along the wall right

14      here and had thrown an IED over the wall that landed at what

15      we called our prison gym, which is right here, and landed in

16      that courtyard somewhere in this vicinity.

17                   And during that time, Tig had made his way from

18      here coming across and had just come through and was about

19      right there when that explosion took place.

20      Q.    What was the intensity of that particular gunfight?

21      A.    It was pretty intense.     There were approximately 15 to

22      20 individuals that I could make out either through the

23      silhouettes of themselves or through their gunfire.

24                   And Tonto and DB were up here, so we had all

25      identified different targets that we had saw with our NVGs,
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 37 of 145       3565


 1      and we had infrared lasers.

 2      Q.   So if I could just slow that down a little bit.

 3      A.   Uh-huh.

 4      Q.   So you mentioned that there were NG --

 5      A.   NVGs.

 6      Q.   NVGs.

 7      A.   Night vision goggles.

 8      Q.   Night vision goggles.

 9                   Also you mentioned earlier that there was an IED.

10      What is that?

11      A.   An IED is an improvised explosive device.

12      Q.   And also that you mentioned an infrared.         What exactly

13      is that?

14      A.   It's just a laser that I could use to identify

15      something, and through my NVGs I could see it.

16      Q.   And what was the level of gunfire that was being

17      returned at that time?

18      A.   It was pretty heavy.      I mean, they were shooting -- the

19      wall right in front of me and the light that was standing

20      right beside me had gotten hit.        I had gotten a little bit

21      of debris either from -- I'm not sure if it was from the

22      wall or from the light.      It had cut my face a little bit.

23                   I was returning fire, and after the IED exploded,

24      Tig jumped up right beside me, and he was shooting as well

25      right there, as well as Tonto and DB, from the top of the
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 38 of 145     3566


 1      rooftop.

 2      Q.     Could you tell how many people were actually shooting at

 3      you?    How many attackers were there?

 4      A.     My guess was 15 to 20 approximately.

 5      Q.     And about how long did that last?      Do you recall?

 6      A.     About 15, 20 minutes.    Not very long.

 7      Q.     Let me direct your attention to what's been previously

 8      marked for identification purposes as Government's Exhibit

 9      350-4.    With regard to the camera that you actually

10      mentioned that you saw earlier next to the tower itself,

11      were you aware, was that recording video?

12      A.     Yes, it was.

13      Q.     And prior to today, did you have the opportunity to

14      review camera feed from that particular video that related

15      to that particular time?

16      A.     Yes, I did.

17      Q.     Let me show you what's been marked as Government's

18      Exhibit 350-4.       Do you recognize exactly this particular --

19      what's in front of you right now?        What's going to be in

20      front of you right now?

21      A.     Yes.   This is the camera that was in the northeast

22      corner right above the Tower 3.

23                    MR. SHWEIKI:   Your Honor, at this time the

24      government moves --

25      Q.     Is that a fair and accurate representation of the fire
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 39 of 145   3567


 1      fight that you saw on that particular day?

 2      A.   Yes.

 3      Q.   Okay.

 4                   MR. SHWEIKI:    At this time, Your Honor, the

 5      government moves into evidence Government's Exhibit 305-4.

 6                   MR. ROBINSON:   No objection, Your Honor.

 7                   THE COURT:   So moved.

 8      Q.   Let me play the video.      And, in fact, as I'm playing it,

 9      can you please first orient us to what exactly they're

10      looking at, if you could actually give us a sense of the

11      landmarks and any identifying features.

12      A.   As it starts out, my position would be just off-screen

13      back from the wall because I wouldn't want to expose myself

14      over the wall and be out in front of the light, so I was

15      always back away from that.       That's why you can't really see

16      where I'm at exactly.

17      Q.   Can you use the touch screen to help orient us.

18      A.   I would have been right down here, just to the back of

19      this screen or the camera view right there.

20      Q.   Now, we had earlier seen a light that was near the

21      tower.    Is that the light that we're seeing here?

22      A.   Yes.    This, right here, is the light that was -- we

23      indicated earlier.

24      Q.   Let me play the video, please.

25                   (Video playing)
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 40 of 145       3568


 1      Q.   This appears to be, like, some action that just

 2      occurred.    What exactly was that?

 3      A.   That was the enemy shooting the light out.         And then you

 4      can also see, as this proceeds, down here at the bottom,

 5      right along the wall, you'll see a lot of debris coming off

 6      the wall right there where that's enemy gunfire hitting the

 7      wall right in front of us.

 8      Q.   Let me just back it up again so we can see the action

 9      that you just described.

10                  (Video playing)

11      Q.   Is that the fire there?

12      A.   Yes.

13                  (Video playing)

14      Q.   At what point do you actually see -- this appears to be

15      some -- actually some debris at the bottom.          Are you aware

16      if there's any significance with regard to that?

17      A.   Yes.   That's the wall -- part of the wall when they're

18      shooting it.     It's just the stucco or cement coming off the

19      wall.

20                  It kind of looks at -- initially you might think

21      that it's bugs or anything, but you can see where it starts

22      and stops pretty distinctly.       And then there was a lot of

23      gunfire hitting that and going past my head.

24      Q.   It seems that the time stamp here is September 11, 2012,

25      at approximately 12:30.      Is that consistent with your
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 41 of 145   3569


 1      recollection about what time it actually occurred?

 2      A.   Yes, it is, sir.

 3      Q.   You actually mentioned also that you actually took some

 4      debris to yourself.      Was that -- does that have any relation

 5      to what we're seeing in this video?

 6      A.   Yes, it was either -- and I'm not sure if it came from

 7      the glass from the light or off of the wall, but I had

 8      gotten hit in the face with some debris, and it kind of put

 9      a cut across my nose.      Nothing really significant.

10      Q.   Let me continue with the video to orient the jury.

11                  (Video playing)

12      A.   And then here you can continue to see the fire, the

13      enemy fire hitting the wall.

14                  (Video playing)

15      Q.   How much of your body is actually exposed at that

16      particular time?

17      A.   Just from probably my shoulders, my head and shoulders.

18      From about armpit level and above.

19      Q.   Do you have body armor on?

20      A.   Yes, I had body armor on, and I had a helmet on.

21      Q.   With respect to that particular point in time, did you

22      feel you were actually -- what level of danger did you feel

23      you were in at that point?

24      A.   Pretty significant.     I mean, I'm guessing roughly

25      probably a couple of hundred rounds had hit the wall or went
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 42 of 145   3570


 1      past me, so I would say I was in pretty significant danger.

 2      Q.     Did you actually hear any of that ammunition nearby you,

 3      I mean, actually flying over you?

 4      A.     Initially I did, but then most of it was drowned out

 5      because Tig was standing right beside me shooting, and his

 6      gun was louder than those coming towards me.

 7      Q.     Did you take any precautions with respect to the gun

 8      that you actually heard Tig firing?

 9      A.     Not until after that because I was more engaged in

10      defending against what was attacking us than worrying about

11      my hearing at that point.

12      Q.     And for clarity of the record, do you know Tig's full

13      name?

14      A.     It is John Tiegen.   I had to think about that for a

15      second.

16      Q.     You also mentioned that there was an individual that

17      approached and actually, your recollection was, threw an

18      IED.

19      A.     Yes.

20      Q.     Was it close in time to what we just watched?

21      A.     Yes, it was.

22      Q.     Let me show you what's been marked for identification

23      purposes as Government's Exhibit 305-5.

24                    (Video playing)

25      Q.     Are you aware of the video that's in front of you now?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 43 of 145    3571


 1      A.   Yes, I am.

 2      Q.   And is that consistent with video that you had actually

 3      reviewed earlier?

 4      A.   Yes, it is.

 5      Q.   And is this a fair and accurate representation of the

 6      events as you recall them on that particular day?

 7      A.   Yes, sir.

 8                  MR. SHWEIKI:    Your Honor, at this time the

 9      government moves into evidence Government's Exhibit 305-5.

10                  MR. ROBINSON:    No objection, Your Honor.

11                  THE COURT:    So moved.

12                  MR. SHWEIKI:    Your Honor, I'd also ask that it be

13      published for the jury.

14                  THE COURT:    You may.

15      Q.   Mr. Geist, can you actually please explain what exactly

16      are we viewing here?      And first of all, is this the same

17      orientation as to the prior video?

18      A.   Yes, it is.    It's approximately the same time period,

19      just shortly after what we just finished watching.

20      Q.   So the time mark on this particular video is 12:34.

21      Would that be consistent with your understanding?

22      A.   Yes, sir.

23      Q.   And that would put it about two minutes after the prior

24      fire fight that we saw earlier?

25      A.   Yes.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 44 of 145         3572


 1      Q.   Let me keep playing.

 2      A.   And to clarify, I don't know that it would be after that

 3      fire fight.    It's during that fire fight.       It was a

 4      continuation of the fire fight that we were in.

 5                  (Video playing)

 6      Q.   And with respect to the video itself, if you can direct

 7      yourself, there appears to be some movement in the screen

 8      just now.    Are you aware what that was?

 9      A.   Yes.   That's the individual that threw the IED over the

10      wall.

11      Q.   And are you still located in the same position nearby --

12      near that light and near the wall?

13      A.   Yes, I am.

14      Q.   At this point in time, can you orient us; where exactly

15      is the individual that we just saw?

16      A.   He came up and moved down the front of the wall here,

17      and he's obstructed from view by the light right here at

18      this point in time.

19      Q.   Let me continue with the video.

20                  (Video playing)

21      Q.   There appears to be some movement in the screen.            Are

22      you aware what that is?

23      A.   That appears to be the individual leaving from -- the

24      one that we just saw walk up to the wall leaving.

25      Q.   Can you please orient the jury as to where exactly that
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 45 of 145    3573


 1      movement occurred with regard to that particular individual.

 2      A.   He moved in this direction right here and also right

 3      there on the other side of the light.         What you can't see is

 4      our rear gate on our eastern perimeter.

 5      Q.   You said the rear gate?

 6      A.   Yes, sir.

 7      Q.   Was that any particular concern with regard to an

 8      individual approaching that area?

 9      A.   Yes.   We had a vehicle that we had -- I mean, we would

10      back up to it, and then out here you can see we had what we

11      called jersey barriers.      They're the cement barriers, like

12      highway dividers, and we had those pushed out away from it.

13                   And you can also see that there's some along this

14      way so you can't get up to that back gate with a vehicle, to

15      protect it from vehicle-borne IEDs.

16      Q.   So where in relation to the back gate was the IED

17      thrown?

18      A.   Just as he was on the other side, it came over the wall

19      and then landed over by -- between me and Tig as Tig was

20      moving up to join me at that fighting position.

21      Q.   Let me actually back it up so the jury can see with

22      clarity the individual.

23                   (Video playing)

24      Q.   And is the individual on the screen any longer?

25      A.   No.    I don't see him anymore.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 46 of 145     3574


 1      Q.   And where does he actually return to, if you know?

 2      A.   He returned to the direction of where we were receiving

 3      all the enemy fire.

 4      Q.   If I can direct your attention to the bottom of the

 5      screen, it appears that there's still debris.          Are you aware

 6      of what that is?

 7      A.   Yes.   That's still gunfire.      They're still -- we're

 8      still engaged with them during this time period.

 9      Q.   And where exactly is Tig, as you refer to him, at this

10      point?

11      A.   At this point he would have -- the IED would have

12      exploded, and at this point he would have moved up next to

13      me, and he would be to my left, I believe.

14      Q.   What was the significant -- what kind of level of the

15      blast was from the IED, if you recall?

16      A.   It was pretty significant because when it exploded, I

17      had kind of glanced back, and I could see Tig in the

18      shadows.    And he was kind of patting himself down making

19      sure that he didn't have any injuries, checking to see if he

20      still had his arms and legs.

21      Q.   Were you concerned for yourself?

22      A.   Not really because I didn't feel any pain, so I

23      didn't -- I just kind of glanced back, saw Tig, and

24      reengaged back out to the threat that was in front of me.

25      Q.   You mentioned that you had actually taken some debris in
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 47 of 145    3575


 1      the face.    What was the level of your injury at that point

 2      in time?

 3      A.   Just some minor cuts across the bridge of my nose and

 4      along my face.

 5      Q.   Did you seek any medical attention?

 6      A.   No.    We were in a fire fight, so I wasn't worried about

 7      that.

 8      Q.   How long after that IED went off did the fire continue?

 9      A.   Maybe a few minutes.      Probably like -- because, like I

10      said, again, I don't know exactly, but it lasted

11      approximately 10 to 15 minutes in total duration.

12      Q.   What happened next?

13      A.   Pretty much everything went quiet.        You know, as the

14      fire -- as the enemy fire quit, you could see them pulling

15      back, and you could hear vehicles leaving the area.

16                   And what we did is just reassessed our situation,

17      reload your ammo, make sure you still have full magazines

18      and have plenty on you, check to see if there's any injured.

19      Kind of over the radio we would ask if everybody's okay,

20      make sure everybody had plenty of ammo, and make sure

21      everybody had water.

22      Q.   Was it still the same plan of action?

23      A.   Yes, sir.

24      Q.   Did you -- did there come a point in time when you were

25      aware that there may be assistance coming with regard to the
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 48 of 145     3576


 1      individuals that were at the Annex?

 2      A.   Yes.    It was some time between now -- between the end of

 3      the first fire fight and the second fire fight, I had gotten

 4      told over the radio that our sister team had came down from

 5      Tripoli and had landed at the Benghazi airport.

 6      Q.   And did that change the course of action as it was in

 7      place?

 8      A.   For me at that time, no.      I wasn't the guy making the

 9      decisions, so I was just more worried about keeping

10      everything secure at that point.

11      Q.   What about for other individuals?        Was there a plan with

12      regard to the other individuals at the facility?

13      A.   The only other information that we had that came over

14      the radio was they had said that we'd received a phone call,

15      and that the ambassador was at the hospital.

16      Q.   Did you take any action at that point to leave the

17      compound?

18      A.   No, uh-uh.

19      Q.   Okay.   And why is that?

20      A.   The decision had been made to remain in place because we

21      didn't have confirmation if it was the ambassador.           The

22      person who made the phone call was a local national, and we

23      couldn't confirm that.

24                   My first thought was that what they were doing is

25      trying to get us to come out of the compound and get us out
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 49 of 145         3577


 1      in the open where we wouldn't have as much of a defensive

 2      capability.

 3      Q.   And so what happened next with regard to inside the

 4      compound?

 5      A.   Inside the compound, again, like I said, we just

 6      rearmed, made sure everybody had water, made sure there were

 7      no injuries, and then prepared for the next follow-on attack

 8      because we expected it.

 9      Q.   And was there a follow-on attack?

10      A.   Yes, sir.

11      Q.   And approximately what time was that?

12      A.   Approximately 1:30/2:00 in the morning, as best as I can

13      guess.    Somewhere around there.

14                  This time they came back at us the same -- from

15      the same direction.      We started seeing movement again, and

16      they -- this time there was approximately 30 to 40.              I think

17      35, 40 people.

18                  Now, in between that, though, and as I recall,

19      there was two guys that were walking what we called Zombie

20      Land.    It's where the sheep behind us were to the north and

21      to the east.     And there was a couple of individuals that

22      were walking back and forth.

23      Q.   And why were they of concern for you?

24      A.   Just -- they didn't have any weapons, or we couldn't

25      identify any weapons, but it just seemed really odd that two
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 50 of 145      3578


 1      guys would be walking back and forth right up here by these

 2      sheep pens in this area right after we had a fire fight.

 3      Q.   As you're explaining, I'll just have it published so the

 4      jury can see it as well.

 5                  So you actually made a red mark?

 6      A.   Yes.

 7      Q.   What's the purpose of that red mark there?

 8      A.   This is where the two individuals that me and Tig had

 9      seen were walking back and forth.        They'd walk across here,

10      stay over here for a little bit, and then they'd walk back

11      in this direction.

12      Q.   What did you do, if anything, with respect to those

13      individuals?

14      A.   Just kept an eye on them.      They didn't have any

15      firearms, so we weren't going to engage them.

16      Q.   And how soon after those individuals were there did the

17      fire fight occur?

18      A.   Probably 15, 20 minutes, I'm guessing.

19      Q.   Now, you mentioned that there was actually 30 to 40

20      individuals that you saw?

21      A.   Yes.

22      Q.   And how were you aware it was that many people out

23      there?

24      A.   Again, we had night vision goggles and then, throughout

25      the fire fight, the number of flashes that you would see
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 51 of 145   3579


 1      from the guns shooting at you.

 2      Q.   And where are you staged?

 3      A.   Again, I'm staged at -- both Tig and I are right here on

 4      Tower 3.

 5                  THE COURT:    Sir, if you could just back away

 6      slightly from the mic.

 7                  THE WITNESS:    Okay, I'm sorry.

 8                  THE COURT:    Great.

 9                  MR. SHWEIKI:    Thank you, Your Honor.

10                  THE COURT:    You're welcome.

11      Q.   Please continue.

12      A.   And then Tonto and DB were again still up in this

13      location.

14      Q.   And how did that particular fire fight start?

15      A.   Again, you saw them moving forward, and then all of a

16      sudden a vehicle had pulled up and stopped right at the

17      jersey barrier that was approximately right here, and an

18      individual had jumped out, and I caught him out of the

19      corner of my eye.     And it looked like he had his arm back

20      like he was throwing something, so I shot him three times,

21      and he went down.

22                  And what he was throwing was another IED, and it

23      landed just short of our gate -- about right there -- and

24      exploded.

25      Q.   What was the level of explosion?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 52 of 145        3580


 1      A.   Pretty big.    It was -- I mean, it's not what you see on

 2      TV, but the explosion itself, because there was no fire with

 3      it, it was just about -- I mean, the thing was like about

 4      the size of a basketball.       The brightest white light that

 5      you can imagine seeing, and then the explosion and the sound

 6      coming off of that.

 7      Q.   Where was the explosion that you actually saw and heard

 8      with respect to where the back gate was?

 9      A.   It was right here when the guy threw it.         He was

10      throwing it from here, and I shot him.         And what he threw

11      landed about ten feet short of the back gate.

12      Q.   What happened after you heard and saw that explosion?

13      A.   Everyone that was out here -- there was guys that had

14      come around this direction.       They'd come up through the

15      trees into here; came up through these trees here.           And they

16      all opened fire at that time at us.

17      Q.   What was the intensity of the fire?

18      A.   That was a lot more than the first time.         It was pretty

19      significant.     Probably at least double of what occurred the

20      first time.

21      Q.   Could you tell what kind of weaponry was being used?

22      A.   Same thing.    It was AK-47.

23      Q.   And was it rapid fire?

24      A.   Yes.   A lot of it was either fully auto, or it would be

25      rapid fire, which would be semiauto where every time you
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 53 of 145      3581


 1      pull the trigger a round goes off.        But they were just

 2      continually pulling it as fast as they could pull the

 3      trigger.

 4      Q.   What was the response within the compound?

 5      A.   We just opened back up on them.       I mean, we had them in

 6      a pretty good cross-fire with Tonto and DB on the high

 7      ground, and then we're firing this way and this way, so we

 8      knew we had pretty good defensive capability from the four

 9      of us.

10      Q.   Were you still taking fire in the wall in front of you?

11      A.   Yes.

12      Q.   Could you hear any fire going over your head during the

13      course of this fire fight?

14      A.   Yes.   Every now -- I mean, you would hear the crack of

15      the round going past you, and what that is is the bullets

16      traveling faster than the speed of sound, so that's what

17      makes that crack.     It breaks the sound barrier as it's going

18      by your head.

19      Q.   How long did that fire fight last?

20      A.   That one lasted closer to 20 minutes, and at one point

21      Tig had gotten hit with a ricochet in his side.

22      Q.   How are you aware that he was hit with a ricochet in his

23      side?

24      A.   He said that he was, and he kind of fell back.          And

25      after the fire fight was over, I looked at his side, and you
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 54 of 145    3582


 1      could see a big nice red welt there.

 2      Q.   What happened after the conclusion -- after this fire

 3      fight ended?

 4      A.   After this fire fight ended, again, we did the same

 5      thing:    reassessed our situation, reload, made sure there's

 6      no injuries.     If there are, treat any injuries.

 7                  There wasn't any other than Tig getting hit by

 8      that, and it wasn't -- it didn't penetrate the skin so he

 9      didn't need to be whining too much.

10      Q.   So at that particular point in time were there any

11      additional injuries that you were aware of to the Annex

12      compound personnel?

13      A.   No, uh-uh, there wasn't.

14      Q.   And about what time did that actually, fire fight,

15      occur?

16      A.   That was probably around 2:00.       So it finished -- I

17      don't know if it started at 2:00, but somewhere between, I

18      don't know, 1:45ish, I'm guessing, and 2:00 is when it ended

19      up finishing.

20                  MR. SHWEIKI:    Your Honor, at this time I see it's

21      about 10:45.     Would the Court like me to continue, or would

22      this be a good time for a break?

23                  THE COURT:    Why don't you go until 11:00.

24      Q.   What was the next plan of action after that second

25      attack?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 55 of 145      3583


 1      A.   Well, now that we knew that the team from Tripoli, they

 2      were trying to make their way to the Annex, and what we had

 3      planned for is taking -- getting all the nonessential or the

 4      nonshooting personnel in the Annex back with them.           They

 5      were going to take them back to the airport and fly them out

 6      to Tripoli.

 7      Q.   And what type of precautions or any activities were made

 8      in preparation for that?

 9      A.   Yes.   What I did is I left my position, and I would go

10      by and relieve somebody to let them get what we call our go

11      bag ready, which is a bag where you have ammo, a first aid

12      kit, a little bit of food, water, so if we had to leave on a

13      moment's notice, you have one thing to grab, and that's it,

14      and you know that you've got all the essential survival

15      things that you need with you right there.

16      Q.   All right.    And were the personnel able to take the time

17      to do that.

18      A.   Yes, they were.

19      Q.   All right.    Was there a lull in the fire fight, or are

20      you continuing to take attack --

21      A.   The fire fight had finished, and they had pulled back

22      and I guess were reassessing their situation.

23      Q.   During the course of the time, did the Annex personnel

24      stay at the same duty stations?

25      A.   Yes.   Most everybody did unless somebody would come by,
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 56 of 145         3584


 1      they would go relieve somebody, they would go get their ammo

 2      or their go back ready, or if they needed to use the

 3      restroom or get some more water or grab a bite to eat -- I

 4      mean, grab a candy bar or protein bar or something, they

 5      would do that, and then come back and take their position,

 6      and then move to another location.

 7      Q.   Did you stay at your duty spot next to that tower, the

 8      Tower 3?

 9      A.   No.    I had moved around and kind of relieved some of the

10      guys and ended up relieving Tyrone on Building 3 so he could

11      go down.    He also went down and checked -- since he's our

12      medic, to check on Scott Wickland and checked on him.            And

13      then he came back up, and I stayed up on Building 3 at that

14      time.

15      Q.   Did things remain quiet that evening?

16      A.   Yes.   They were pretty quiet during that.

17                   You know, me and Ty had just started talking about

18      our kids, you know, in that lull time because he had a young

19      baby boy that was fairly new --

20                   MR. ROBINSON:   Objection, Your Honor.

21                   MR. SHWEIKI:    Very well, Your Honor.

22                   THE COURT:   Sustained.

23      Q.   And did there come any point in time where you began to

24      have concerns with regard to a follow-on attack?

25      A.   Yes.   You know, it's getting on towards morning, and we
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 57 of 145      3585


 1      call it BMNT, beginning morning nautical twilight.           It's

 2      that half hour/hour before the sun actually comes up that --

 3      and then we also have what we call the same thing in the

 4      evening, evening nautical twilight.        That's -- those are

 5      those times that everybody -- I mean, throughout history,

 6      that's the time when you attack somebody.

 7      Q.   And about what time was that where you were on top of

 8      Building 3?

 9      A.   I had gotten -- probably gotten up on Building 3 about

10      2:30 and had been there until -- throughout that final

11      attack, which about -- it was getting on about 4:45

12      probably.

13      Q.   At about that particular time, at around 4:45 to 5:00,

14      can you please orient us, looking at Government's Exhibit

15      141 in particular with respect to Building 3, where exactly

16      is it that you're positioned?

17      A.   I'm positioned over here in what would be the northwest

18      corner, and then Tyrone is to my left further into that

19      corner, and then Dave is right there, and there's a ladder

20      right here in front that we would use to climb up, and

21      that's where Dave Ubben was.

22      Q.   And at that particular point in time there were only

23      three people that were up on top of the roof?

24      A.   Correct.

25      Q.   Did that change?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 58 of 145          3586


 1      A.   Well, not until during the fire fight, or the end of the

 2      fire fight.

 3      Q.   And so what exactly -- were there any significant events

 4      that occurred after your concerns went through your mind

 5      with regard to twilight and the related attack?

 6      A.   Well, yes, because, you know, it's right around that

 7      time when you start seeing the shadows kind of change on the

 8      eastern horizon, and you can start making out shadows of

 9      trees.    And the team from Tripoli had arrived, and they had

10      all came in, and all of them, except for one, had went

11      inside Building 3.

12      Q.   Let's talk with respect to the team that arrived from

13      Tripoli.    At about what time did they arrive to the Annex

14      itself?

15      A.   Probably around 4:45, somewhere around there.

16      Q.   And what happened to the personnel that were there, the

17      Annex people that actually were already in position?             Were

18      they reinforced by any of those GRS folks coming from

19      Tripoli?

20      A.   Not immediately.     We all stayed in our positions, and

21      the individuals from Tripoli went into -- as far as I know,

22      they went into Building 3.

23      Q.   Did you have any reinforcements with respect to Building

24      3?

25      A.   Yes.   Glen Doherty came up on top of Building 3.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 59 of 145      3587


 1      Q.   Let me show you what's been previously marked and

 2      admitted as Government's Exhibit No. 4.         Do you recognize

 3      what that's a photograph of?

 4      A.   Yes, sir.    That's Glen Doherty or his -- what we called

 5      him was Bub.

 6      Q.   Is that B-U-B?

 7      A.   B-U-B.

 8      Q.   And what happened when he got on top of Building 3?

 9      A.   He came over, and Ty introduced me to him, said he was a

10      former Navy SEAL sniper.       And I had introduced myself as Oz

11      and said, "Glad to have you up here.        It's great to have

12      another gunfighter, but hopefully we're not going to need

13      you."

14      Q.   And did things stay quiet?

15      A.   No, not really.     I was -- him and Ty moved off to my

16      left, and it wasn't shortly after that that an RPG or an

17      explosion occurred right here in front of us.

18      Q.   When you say "RPG," what exactly are you referring to?

19      A.   An RPG is a rocket-propelled grenade.        It's a Soviet-

20      designed weapon to blow up tanks.        And you've probably seen

21      them in the movies.      It's got a big warhead on it and looks

22      like a bazooka.

23      Q.   And you put a dot.     What was the significance of the dot

24      that you just put on the map?

25      A.   That's where the explosion was from that.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 60 of 145       3588


 1      Q.   And where are you at the point in time that you

 2      actually --

 3      A.   I'm standing right up on top of the rooftop right there.

 4      Q.   Can you orient us with regard to the courtroom itself.

 5      About how far away was that RPG strike from where you were

 6      at that time?

 7      A.   Probably where the sand table or the exhibit is right

 8      there at the back of the courtroom just past the jury.

 9      Q.   Were you concerned for your safety?

10      A.   I mean, I was, but not -- I didn't worry about it.          I

11      mean, it blew up, and immediately there was -- gunfire

12      followed it, AK fire; again, Kalashnikov or AK-47 fire as

13      well as machine gun fire.

14      Q.   Where was that fire coming from?

15      A.   It was coming down past this building straight from this

16      direction.

17      Q.   And was it -- in what direction was it with respect to

18      where you were?

19      A.   Directly almost in front of me, coming straight at me.

20      Q.   What was the intensity of that fire?

21      A.   Pretty intense.     Most of it was hitting -- going past

22      our heads and hitting the wall in front of us.

23      Q.   Was there any reaction from the individuals on top of

24      Building 3 at that point?

25      A.   Yes.    I immediately opened fire with my assault rifle.
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 1                  Ty had a belt-fed machine gun.       He opened up with

 2      that.

 3                  And again, he had been moving away.        I remember

 4      just kind of seeing him kind of behind me, and I'm assuming

 5      he was moving either to the other side or to get in a better

 6      fighting position or a spot where he could have a better

 7      avenue of engaging the enemy.

 8      Q.   Did the attack continue?

 9      A.   Yes, it did.    Almost -- I don't know, 30 seconds to a

10      minute later an explosion occurred right in front of Dave on

11      the wall.    Dave yelled out that he was hit, and I kind of

12      looked to my right, and I see him.        He's sitting on this box

13      that we used to climb up to get onto the ladder to go down,

14      and I could see his silhouette.        He's kind of leaning

15      forward holding his head.

16                  Me, I wanted to go over and help him, but I can't

17      do that.    I've got to stay in the fire fight.

18      Q.   What was the level of the fire fight at that time coming

19      towards you?

20      A.   Very significant.     It was probably more than what we had

21      had from the other two fire fights combined.

22      Q.   What was the level of the impact of the explosion that

23      you saw in front of you on the wall there?

24      A.   Very significant, you know, because immediately I'm

25      thinking indirect fire.      Indirect fire is like artillery or
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 62 of 145        3590


 1      mortars, and we don't have any defense against that.

 2                   And I'm shooting, and I run out of ammo in my mag,

 3      so I kind of kneeled down behind the wall.

 4                   Is it all right if I kind of demonstrate?

 5      Q.     Please.

 6                   MR. SHWEIKI:   Your Honor?

 7      A.     So I was kind of kneeled down like this shooting, and I

 8      kneeled down, changed magazines, and I come right back up.

 9      That's when the next mortar -- it would have been the second

10      mortar, but the first one that hit the rooftop -- hit about

11      15 feet to my right.

12      Q.     Can you please orient us just by making a mark on

13      Building 3.

14      A.     It hit about right there, almost right up against the

15      wall where the -- all the buildings over there, if it wasn't

16      a mosque and had a dome, it was pretty much flat.          And they

17      had all about a three-foot wall around the top, which is

18      what we were using for cover and concealment.

19      Q.     So with respect to the first mortar that actually lands

20      on top of Building 3, how far away are you from where it

21      hit?

22      A.     Approximately 15 feet from me to probably Juror -- the

23      second one in the back there.

24      Q.     And where exactly was Dave Ubben with respect to that?

25      A.     Dave was on the opposite side about the same distance,
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 63 of 145         3591


 1      15, 20 feet from that when it -- it landed almost directly

 2      in between me and Dave.

 3      Q.   And what about Tyrone Woods?

 4      A.   Ty was to my right, and then Glen was kind of to my

 5      right rear.    And when I came back up to reengage, that's

 6      when I noticed Ty was in a fetal position at my feet, and

 7      he's out of the fight.

 8                  Going through my mind at this time is Dave's out

 9      of the fight; he can't shoot.       Ty's out of the fight.       I'm

10      just trying to get my gun back in, and I bring my left arm

11      up to try to grab my gun, and that's when I first realized

12      that I'd been injured myself.

13      Q.   What was the level of injury that you had at that point?

14      A.   About six inches above my wrist my arm was kind of

15      hanging off at about a 90-degree angle.

16      Q.   When you say "hanging off," what do you mean by that?

17      A.   Well, what had happened is a piece of shrapnel had went

18      through my arm and disintegrated two inches of the bone.

19      The first bone shattered the other bone, so the whole thing

20      was just kind of hanging down.

21      Q.   Were you still -- you said you were still trying to

22      fight at that point?

23      A.   Yes, because I know that -- I mean, we're still

24      receiving fire.     Somebody's got to return fire.       So I'm just

25      kind of swinging my arm up trying to grab my gun and stay in
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 64 of 145        3592


 1      the fight.

 2      Q.   Were you able to do that in any way?

 3      A.   I couldn't make it work.      I tried a lot.

 4      Q.   What happened next?

 5      A.   Shortly after that, the next mortar hit.         It hit just

 6      about the same distance from me, but just short -- a little

 7      bit shorter, towards the center of the building.

 8                   I kind of glanced over my shoulder, and that's

 9      when I saw Glen go face down on the rooftop, and now he's

10      out of the fight.     So I turned back and, again, I'm

11      just -- and at this point I still haven't felt any pain

12      because I'm just focused on getting back in the fight, and I

13      turned back to bring my gun up, and I'm still trying to make

14      my arm work and grab my gun.       And it's just, you know,

15      frustration in just not being able to do that, trying to

16      fire.

17                   And that's when the third round hit, and the third

18      one hit almost dead center of the building.          This is not an

19      exact, you know, idea.      You can see it.     I think we have

20      some pictures of that.

21                   But when that one hit, that's the first time I

22      really felt any pain.      It felt like I got stung by, like, a

23      thousand bees.

24      Q.   At that point in time, when the third hit, what was the

25      condition of Dave Ubben?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 65 of 145      3593


 1      A.     Dave was out of the fight.     I don't know how bad off he

 2      was.    I mean, again, my focus is just trying to take -- is

 3      protect my area because if I'm out of the fight, then no one

 4      else can defend it, and we're going to get overran from that

 5      position.

 6      Q.     And then in your area, what was the condition of Tyrone

 7      Woods at that point?

 8      A.     He wasn't moving so he was out of the fight.

 9      Q.     And what about Glen Doherty at that point?

10      A.     Glen was face down on the rooftop, and he was out of the

11      fight as well.

12      Q.     And what about your condition at that point in time?

13      Are you still in the fight?

14      A.     Yes.   I mean, I'm still trying to pull the trigger and

15      trying to make my arm work.       My arm wouldn't work, and I

16      couldn't.

17                    I mean, and it all pretty much happened really --

18      fairly quick.     I mean, we're talking a couple of minutes.

19      For me it seemed like probably 15 or 20 minutes, and after

20      that last one, you know, I figured I might need to get to

21      some cover because if another one hit I figured I'd probably

22      not make it.

23      Q.     What did it feel like when the mortars came in?

24      A.     I don't know.   I mean, the bright -- three of the

25      brightest lights I've ever seen in my life.          I mean, and
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 66 of 145        3594


 1      just a shock wave every time -- every time one hit, it just

 2      felt like a shock wave would go right through you, is the

 3      best way I can describe it.

 4      Q.   Let me show you what's been previously admitted as

 5      Government's Exhibit 143-19.       Are you aware of exactly what

 6      we're looking at here?

 7      A.   Yes.    That's the box that I was saying Dave sat on.       He

 8      turned around and sat on it when the first mortar hit the

 9      wall, and he was holding his head.        And we used that to

10      climb up and get down that ladder right there.

11      Q.   And so what's poking out, is that the ladder itself?

12      A.   Yes, sir.    It's inch-and-a-half square tubing that we

13      had cut up and welded together and bolted it up to the side

14      of the building so we'd have a way to get up and down.

15      Q.   And what I'm marking here, is that the corner of

16      Building 3?

17      A.   Yes, sir.

18      Q.   All right.    And what is actually -- just orient

19      ourselves.    What are we actually looking at here?

20      A.   This is a Quonset hut or, you know, a half-dome

21      building, and Dave Ubben was right in the corner there.          And

22      then the enemy fire was coming from the left of that

23      building there.

24      Q.   Would that be --

25      A.   And just past that -- or in between that building and
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 67 of 145        3595


 1      the wall that we're looking at was our outer wall that was

 2      the perimeter of the Annex.

 3      Q.     Let me show you what's been marked as Government's

 4      Exhibit -- and previously admitted -- 143-82.          Can you

 5      please orient us to what exactly we're looking at here and

 6      its relationship to the mortar attack that you actually just

 7      mentioned earlier.

 8      A.     Again, you see the northeast corner, the ladder and the

 9      box.    And then to the immediate left of that there's a hole

10      in the bottom where the wall and the top of the roof come

11      together.     That was the first mortar that hit.

12      Q.     And that would be consistent with what you recall being

13      the first mortar that hit?

14      A.     Yes, sir, right here.

15      Q.     And there appears to be discoloration or actually

16      disfigurement of the wall itself.        Are you aware what that

17      was?

18      A.     Yes.   That's shrapnel from the mortar blow.      When it

19      blows up, it shoots shrapnel up and out, and it all went

20      into there and blew out -- you know, it blew out the hole

21      there.    And then you can see shrapnel in the antenna on the

22      satellite dish there as well.

23      Q.     You mentioned where David Ubben was.      Where exactly was

24      Tyrone Woods, if you recall?

25      A.     He would have been to the left of this with me.           We
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 68 of 145       3596


 1      can't see it on this picture here.

 2      Q.   Let me direct your attention to what's been previously

 3      marked as Government's Exhibit 143-76.         Does that help with

 4      actually the orientation?

 5      A.   Yes.   I was approximately just off the screen to the

 6      left right here, and then Tyrone would have been right

 7      there, and then, as things started, Glen was right there

 8      beside me, or beside Ty, I'm sorry.

 9      Q.   Let me show you what's been marked as Government's

10      Exhibit 182-22.     Does that help orient you as to where

11      exactly you were on that particular night?

12      A.   Yes, sir.    This -- again, here's one of the floodlights

13      that we had on top of the building right here.          I was just

14      to the left of that standing right there, probably back just

15      a little bit.     And then Ty was right there, and Glen was

16      probably right to the left of him.

17      Q.   And with respect to the significance of their injuries,

18      did you take any particular action with regard to them?

19      A.   Well, not immediately because, you know, the first thing

20      you have to do is we call it self-aid.         You know, no matter

21      how bad I want to go help the guy to my left or right, when

22      we're in a small unit like we are -- we're only five or six

23      guys -- I've got to defend that position, because if I

24      don't, then we're going to get overran.

25                  So I can't go -- no matter how bad I want to go
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 69 of 145       3597


 1      help Dave or go help Ty, I've just got to try to stay in the

 2      fight.    And then once you secure the position, I can -- if

 3      able, I can administer first aid.

 4      Q.    Were you able to secure the position at any particular

 5      point in time?

 6      A.    After the third mortar hit, everything just kind of went

 7      quiet, and I had kind of dove down and ended up kind of next

 8      to the wall right over here trying to make myself the

 9      smallest that I could, because I knew if a fourth mortar

10      would have hit the rooftop, it probably would have killed

11      me.

12                  And everything was quiet, so I sat up, and

13      immediately I felt I was wet all around me.          And the first

14      thing going through my mind is that I was bleeding out, so

15      I'm grabbing a tourniquet off my med kit and trying to get

16      it on.

17                  Then I also realized what I was sitting in wasn't

18      blood because it wasn't warm.       It was cold.     It was water,

19      because there was a big black water tank.         You pump the

20      water up to the top, and then it's kind of a gravity feed so

21      you have water pressure inside the house.         Well, there's

22      always a big water tank on top, and that thing had gotten

23      perforated by the shrapnel and kind of flooded underneath

24      me.

25                  Then I kind of got distracted because I wanted to
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 70 of 145        3598


 1      check on Ty.     I didn't get the tourniquet put on.       So I

 2      started crawling over to check on Ty because he was five,

 3      six feet away from me.      I crawl over and reach out to him,

 4      and I can't find a pulse on him.

 5                   So I sit back up, and that's when I see a shadow

 6      come up over top of the rooftop.

 7      Q.     Do you recall who the shadow was?

 8      A.     It was Tig.

 9      Q.     And what happened when he arrived?

10      A.     He'd come up over top, and he -- I don't know what he

11      was doing over in the corner.       He was stopped there for a

12      little bit.

13                   I had kind of started going back to myself.          I had

14      forgot, through the shock and everything, what was going on

15      with me, and I kept trying to grab my arm, and I'd lift it

16      up and try to hold it in place, and then I'd let go, and it

17      kept falling, and I couldn't make it stay in place.

18                   And then Tig walked up, and he kind of said, you

19      know, "Hey, you might want to quit playing with that.            It

20      ain't going to make it any better."        And I think that's just

21      his way of kind of diffusing the situation.          And he grabbed

22      the tourniquet and put it up on my arm and tightened it down

23      and stopped the bleeding.

24      Q.     At that point in time were you able to, like, move at

25      all?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 71 of 145     3599


 1      A.   Yes, because, you know, I knew that he had -- in the

 2      back of my mind, I'm still hoping that Ty and Glen are

 3      alive.    I mean, they're not moving.      I can't find a pulse,

 4      but you've still got that hope in the back of your mind.

 5                  So Tig says, "Hey, can you get over to the ladder

 6      on your own?"     And he helps me stand up, and I walk over to

 7      the ladder on my own.

 8                  And about that time is when the next guy comes up

 9      onto the rooftop.     One of the -- another GRS guy comes up on

10      top, and he asked me if I can get down.         And I said yes.

11                  So I step up on the box.      He helps me step up on

12      that and then sits me up on the wall with my feet kind of

13      dangling off right next to the ladder.

14      Q.   Let me show you what's actually been previously

15      discussed as Government's Exhibit 143-19.         Is that the

16      ladder that you're referring to?

17      A.   Yes, sir.

18      Q.   Is that the ladder that you had to try to make up on

19      your own?

20      A.   Yes.   I had to get down that on my own.

21      Q.   All right.    You were explaining your efforts.

22      A.   I was sitting right here next to it, and there's -- the

23      first rung is just below where you can't -- below the top of

24      the wall there, and I figured, "Okay, how am I going to do

25      this?"
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 72 of 145   3600


 1                  I reached down with my good arm and kind of hook

 2      it on there, and I figure if I just slide off, you know,

 3      physics or energy is going to -- I'm going to turn and land

 4      my feet right on the ladder.

 5                  Unfortunately, we all know what happens with

 6      Murphy's Law.     What can go wrong will go wrong, and my feet

 7      don't hit the ladder.      One goes through one hole and one

 8      goes through the other, and I fall -- about half fall down

 9      the ladder.

10                  I'm able to catch myself with my good arm and pull

11      myself back up and then climb down and walk around to the

12      front.

13      Q.   Let me show you what's been previously marked as

14      Government's Exhibit 143-85.       Is this the ladder that you're

15      referring to that you actually had difficulty getting down?

16      A.   Yes, sir.    I believe -- I mean, you can see the blood.

17                  THE WITNESS:    I'm sorry.

18                  THE COURT:    Counsel, is this a good time?

19                  MR. SHWEIKI:    Your Honor, this would be a good

20      time.    Thank you.

21                  THE COURT:    All right.    Why don't we take our

22      morning break.     It's about 11:10.     We'll see you back at

23      about 11:25.

24                  (Jury exits courtroom)

25                  MR. SHWEIKI:    Thank you, Your Honor.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 73 of 145   3601


 1                   (Recess taken)

 2                   MR. ROBINSON:    Counsel and I would like to

 3      approach on an issue.

 4                   (The following is a conference held at the

 5                   bench outside the hearing of the gallery)

 6                   MR. ROBINSON:    We just have to wait.

 7                   Your Honor, the government shared with us a number

 8      of photo exhibits that it plans on using as well as a

 9      demonstration that it plans to conduct, and we have an

10      objection on relevance and prejudice.

11                   The demonstration is that they intend to have

12      Mr. Geist roll back his sleeve to show his arm injury, and

13      we don't see how -- the fact that he's been injured will be

14      demonstrated by one of the photos that we put in, and we

15      don't see a need to that have displayed.

16                   With respect to this photo, their Exhibit No. 6,

17      we object to the prominent display of the American flag in

18      the picture, which is prejudicial but bears nothing on the

19      relevance.    And similarly, they have three photos of his

20      injuries that they intend to use, and we believe that they

21      should be limited to one of those photos.

22                   MR. SHWEIKI:    Your Honor, with regard to those

23      particular photos, I think the decision with regard to

24      Mr. Geist testifying as to them is that he is a named

25      victim --
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 74 of 145        3602


 1                   THE COURT:   (To the witness) Sir, could you step

 2      down, please.

 3                   MR. SHWEIKI:    Your Honor, he is a named victim.

 4      He actually was directly involved in it.         We've actually

 5      culled down dramatically the number of photographs that were

 6      available.    We don't think that these are in any way really

 7      unduly grotesque or bloody in any way, and they actually, I

 8      think, provide the jury an understanding now of Mr. Geist

 9      standing here as to the nature of the injuries that he

10      actually describes himself.       And so we don't really think

11      that they are actually prejudicial, and actually, given the

12      nature where he is actually a named victim, we think that

13      this is, you know, consistent with what actually should be

14      provided given the nature of his injuries and his position

15      with regard to what he described and with regard to --

16      relative to his role in this particular attack.

17                   THE COURT:   All right.    If you show any of the

18      photographs, you don't need him to roll up his sleeve.           If

19      you have him roll up his sleeve, then you don't need the

20      photographs.     So I will give you -- make the choice, one or

21      the other.    I think at some point it gets to be cumulative.

22                   MR. SHWEIKI:    What I would suggest possibly as a

23      compromise, Your Honor --

24                   THE COURT:   No, there's no compromise.

25                   MR. ROBINSON:   I think he's moving on.      He's
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 75 of 145       3603


 1      moving back to -- I think he's not talking about the arm

 2      injury.    I think he's moving back to --

 3                  MR. SHWEIKI:    Oh, Your Honor, I was just going to

 4      say, there is one photograph that actually has -- like just

 5      shows all the stitches afterward from Walter Reed after he

 6      comes back, which I think is a fairly -- that one actually,

 7      I think, encapsulates it without being overly dramatic in

 8      any way.    And I think that -- in conjunction with regard to

 9      him being able to demonstrate the healed nature of what

10      exactly it was, I think it would be consistent with regard

11      to probative without it actually being in any way overly

12      prejudicial.

13                  THE COURT:    You can show the photographs, but no

14      more demonstrations.      We did that with Ubben.      You know, I

15      think it's unnecessary if you use the photographs, and you

16      can use all three photographs.

17                  With respect to the flag, I'll let you use this

18      one.   I don't think it's --

19                  MR. SHWEIKI:    Just so, Your Honor, I act

20      consistently, so we can use the photographs, but no

21      demonstration?

22                  THE COURT:    Yes.

23                  MR. SHWEIKI:    Okay.

24                  MR. ROBINSON:    These are my photos.      You gave me

25      copies.
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 1                  (This is the end of the bench conference)

 2                  THE COURT:    Sir, you can come back.

 3                  Mr. DiLorenzo, we'll have the authentication next?

 4                  MR. DiLORENZO:     Correct.

 5                  THE COURT:    Okay.

 6                  MR. DiLORENZO:     And then -- we have two, and then

 7      if there's time, we'll proceed with Special Agent Clarke.

 8                  THE COURT:    Okay.

 9                  (Pause)

10                  MR. SHWEIKI:    Your Honor, I'm just trying to think

11      about logistically -- can we approach really quick?

12                  (The following is a conference held at the

13                   bench outside the hearing of the gallery)

14                  MR. SHWEIKI:    I had actually spoken with Mr. Geist

15      about actually having the opportunity to show the nature of

16      his injuries.     I'm afraid that he actually might request to

17      go ahead and do that, so just to prevent any awkwardness,

18      may I be able to tell him now?

19                  THE COURT:    No objection in telling him?

20                  MR. ROBINSON:    No.    I'd appreciate that.

21                  MR. SHWEIKI:    Okay.

22                  THE COURT:    Thank you.

23                  (This is the end of the bench conference)

24                  (Jury enters courtroom)

25                  THE COURT:    All right.    Please proceed,
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 77 of 145     3605


 1      Mr. Shweiki.

 2                   MR. SHWEIKI:    Thank you very much.

 3      BY MR. SHWEIKI:

 4      Q.   Mr. Geist, at the time that the mortar attacks were

 5      occurring, are you aware if actually the cameras were

 6      actually still taking footage of areas at the Annex itself?

 7      A.   Yes, sir.

 8      Q.   And prior to today, did you have the opportunity to

 9      review some of that footage?

10      A.   Yes, I did.

11      Q.   And after reviewing that footage, does it encapsulate at

12      least part of the mortar strike that you actually described

13      earlier?

14      A.   Yes, sir.

15      Q.   I'd like to show you what's been marked as Government's

16      Exhibit 305-7, and please tell me if it's something that you

17      recognize.

18      A.   Yes.    The two cameras or the two views that you're

19      seeing on the left-hand side, here and here, are from two

20      separate cameras that are on the --

21      Q.   Mr. Geist, I apologize.

22                   MR. SHWEIKI:    If I may, may I please move for its

23      admission and publication for the jury?

24                   MR. ROBINSON:   No objection, Your Honor.

25                   THE COURT:   So moved.
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 1      Q.   Mr. Geist, if you can please, again, orient the jury to

 2      what exactly you're viewing at this point.

 3      A.   The top left view is of a stationary camera that covers

 4      the north wall, and then the bottom camera is a PTZ, which

 5      is a pan, tilt, and zoom camera that also covers that

 6      direction and can be swung out to see the rest of the north.

 7                  The camera on the top is -- that camera is showing

 8      the north view of where the sheep pens are, and then the

 9      bottom camera on the right-hand side right here is a camera

10      that is from the -- it's mounted on the southwest corner of

11      Building 3 facing northwest into the corner of -- the

12      northwest corner of the Annex.

13      Q.   The following clip is actually time-stamped 5:15.           Is

14      that consistent with your general understanding of when the

15      mortar attack occurred?

16      A.   Yes, sir.

17      Q.   And if I can now briefly switch your attention, just for

18      further orientation of the jury, back to 141.          Can you give

19      us just a better sense of where exactly the top left

20      photograph is actually -- screen is actually orienting?

21      A.   The top left screen would have been a camera right here

22      pointing down the wall in this direction to the east.

23                  The other camera, it's also pointing down that

24      way, but it's a pan, tilt, or zoom, and it's pointing this

25      way, but it can be oriented out to the north as well.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 79 of 145   3607


 1                  The other -- the camera on the top right was from

 2      the right -- from the northeast corner showing out over the

 3      sheep pens in this direction, and then the bottom right is

 4      located right here at the bottom of Building 3, and it's

 5      oriented to the northwest, that direction.

 6      Q.   With respect to this particular map, at this point can

 7      you just please remind us where exactly you are at that

 8      point in time?

 9      A.   At this point during the mortar attack, I am right --

10      approximately right there on Building 3.

11      Q.   And you mentioned earlier that there was an RPG attack

12      prior to the mortars.      Can you please indicate where exactly

13      that was.

14      A.   The RPG came from down this alleyway right here and hit

15      the wall approximately right there in front of Ty and myself

16      and Glen.

17      Q.   And the mortar strike with regard to the outer wall,

18      where was that with respect to the RPG strike?

19      A.   The outer wall was directly in front of Dave Ubben.

20      Approximately right there where I put that last red dot.

21      Q.   Let me turn your attention now back to the video itself.

22                  First, directing us to the top left-hand corner

23      video, if you could please describe what exactly we're

24      viewing at this time.

25                  (Video playing)
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 80 of 145   3608


 1      A.   That's the RPG that came down and impacted the wall

 2      right in front of us.

 3      Q.   And how are you aware that it was actually an RPG

 4      strike?

 5      A.   Looking at the camera, you can see that it was a

 6      horizontal device that came in and exploded directly against

 7      the wall.

 8      Q.   Can you actually provide a marker on the screen itself?

 9      A.   Yes.   It came from this direction right there and hit

10      the wall right there.

11      Q.   So in this it's coming from the right hand to the left,

12      but from exactly the direction, it would be north to south?

13      A.   Yes, sir.

14      Q.   Reviewing it slightly for the jury's benefit.

15                  (Video playing)

16      Q.   That was the light again right there?

17      A.   Excuse me, sir?

18      Q.   That was the RPG attack?

19      A.   Yes.   And you can see it on both cameras, the top left

20      and the bottom left.

21                  (Video playing)

22      Q.   At this point in time are you continuing to take fire

23      coming in from other weaponry?

24      A.   Yes.   You can see some of that hitting the wall as well,

25      and you'll also see a couple of streaks of light coming
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 81 of 145   3609


 1      across, which is tracer fire.

 2      Q.   And where exactly are the indications of that fire

 3      coming in on the top left-hand video?

 4      A.   I see debris coming off the wall right here, and then

 5      you'll see tracer fire, a couple of tracers come across the

 6      screen up in that direction.

 7      Q.   Please orient us to where exactly you would be.

 8      A.   I would be up here.     From here I would be to the right

 9      of that wall up on -- elevated up on top of the building.

10      Q.   Let me continue with the video.

11                  (Video playing)

12      Q.   What occurred just now with regard to the bottom left

13      screen?

14      A.   The bottom left screen, an individual inside the

15      headquarters building, or the Building 3, panned out to see

16      where -- see if they could identify any threats out in front

17      of us.

18      Q.   Continue with the video.

19                  (Video playing)

20      Q.   Did you actually notice anything towards the latter part

21      of that particular video itself on the left-hand side?

22      A.   Yes.   Directly on top of the wall was the mortar blast

23      that injured Dave Ubben, or the first mortar that injured

24      Dave Ubben.

25      Q.   We actually see what appears to be smoke on the top
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 82 of 145         3610


 1      right-hand corner of the video that you're just describing.

 2      Are you aware what that is?

 3      A.   Yes.   That's the mortar hitting the top of the wall;

 4      that you see a light flash, and then you see the smoke come

 5      up from it.

 6      Q.   And can you please describe what was the nature of that

 7      smoke that you saw rising from that.

 8      A.   It happened -- I mean, I think, you know, you're looking

 9      at a tenth of a second that that explosion occurs, and

10      that's the smoke that's coming from the explosion of the

11      mortar hitting the top of the wall.

12                  And as you see the light, and you see how the

13      light comes -- kind of comes out as an upward and outward

14      angle, that's also -- also shrapnel is in part of that

15      coming up, and that's what hit Dave Ubben in the top of his

16      head.

17      Q.   Completing the video.

18                  (Video playing)

19      Q.   Let me show you what's been previously admitted into

20      evidence as Government's Exhibit 182-28 on the ELMO.             Are

21      you aware of what we're looking at now, if it has any

22      relation to what we actually viewed on the video itself?

23      A.   Yes.   The damage to the outer wall is the mortar that

24      hit the wall right in front of Dave Ubben, and you can also

25      see on the Quonset hut the perforations of shrapnel elevated
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 83 of 145        3611


 1      up and out, which also kind of gives you an idea of what

 2      type of ordnance it was that hit.

 3      Q.    And you mentioned that there actually was fire coming

 4      in.   If you could please direct us to where exactly, by

 5      indicating on the touch screen.        Where was that fire coming

 6      from?

 7      A.    The fire -- the enemy fire was coming from over

 8      underneath this building right here and further down from

 9      that building coming at us from that direction, or in this

10      direction from the north.

11      Q.    Before the break you actually discussed that you were

12      having difficulty getting down the ladder itself.          Were you

13      ultimately able to get down the ladder unassisted?

14      A.    Yes, sir.   I was able to kind of pull myself back up,

15      get my feet on the ladder, and climb down.         And then I

16      walked around to the front, and at that point I ran into

17      another one of our guys, who was an assistant medic from

18      Tripoli, who took me around and put me inside, laid me down

19      on the floor inside of Building 3.

20                  And then he left and went back up on top of the

21      building to help with the other injured.

22      Q.    At the time that you're actually inside Building 3, you

23      described the nature of your injuries to your left arm.

24      Were you concerned about any other injuries on your body?

25      A.    Yes, because, I mean, I knew that after three mortars
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 84 of 145            3612


 1      and, you know, getting -- when I was hit, like I explained

 2      getting stung, like, by a thousand bees.         I knew I had other

 3      holes in me, so I had to direct the people to cut my clothes

 4      off so we could find out what else there was.

 5                  And I had gotten hit in the neck.        I had a piece

 6      of shrapnel about a millimeter from my carotid artery.             I

 7      got hit on both sides of my chest, one in the center.             I

 8      still have three pieces of metal in my chest.

 9                  I got hit in the stomach, up and down both arms,

10      and then I had another piece of shrapnel about a millimeter

11      from a femoral artery high up on the inside of my leg, and I

12      had a bunch of holes up and down both legs.

13      Q.   Were you conscious?

14      A.   Yes, sir.

15      Q.   Were you in pain?

16      A.   Yes, sir.

17      Q.   Did you receive any sort of treatment while you were

18      inside of Building 3?

19      A.   I got all my clothes cut off.       We figured there was

20      about 20 to 30 holes.      Most of them -- there was a few that

21      were bleeding pretty good, my neck and near my leg.              We got

22      those stopped.

23                  And the rest of them weren't bleeding

24      significantly.     It was just kind of oozing, so we weren't

25      too worried about those.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 85 of 145   3613


 1      Q.   Could they do anything for your arm at that point?

 2      A.   No.    We just had the tourniquet on, and that's the only

 3      thing you could do for that, and stabilize it.

 4      Q.   At that point in time were you involved in any other

 5      security measures?

 6      A.   No.    I was pretty much out of the fight at that point.

 7      Q.   Did there come a point in time where you actually were

 8      evacuated from the Annex facility itself?

 9      A.   Yes, sir.

10      Q.   Could you please just generally describe that process.

11      A.   I don't remember exactly how much time had elapsed, but

12      it was daylight, full daylight out, and they had put me on a

13      cot or on a stretcher and put me in the back of a -- it's a

14      Hilux pick-up truck, which is kind of like a Toyota Tacoma.

15      And I was in the back of a pick-up truck, and we had an

16      escort along with all of our personnel out to the airport at

17      Benghazi, the Benghazi international airport.

18      Q.   You said that you were in the back of a pick-up truck?

19      A.   Yes, sir.

20      Q.   Who was driving that, if you know?

21      A.   I don't recall who was driving.

22      Q.   Were you receiving any sort of treatment, or was anybody

23      tending to you at that particular point in time?

24      A.   Yes.   There was -- one of our assistant medics who had

25      helped me walk around the building had remained with me just
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 86 of 145   3614


 1      to make sure, in case there was any problems.

 2      Q.   Are you still conscious at that point in time?

 3      A.   Yes, sir.

 4      Q.   All right.    Are you aware, was there video running at

 5      the time of that particular evacuation itself?

 6      A.   Yes, sir.

 7      Q.   Do you recognize the video that's being shown in front

 8      of you?

 9                   (Video playing)

10      A.   Yes, sir.    That's from the camera that is in the

11      southwest corner of the building facing east, southeast.

12      Q.   Before you provide a further description of what we're

13      actually reviewing, is this a fair and accurate

14      representation of the evacuation that you referred to

15      earlier?

16      A.   Yes, sir.

17                   MR. SHWEIKI:    Your Honor, at this time the

18      government moves into evidence what is Government's Exhibit

19      305-10 and request publication to the jury.

20                   MR. ROBINSON:   No objection.

21                   THE COURT:   So moved.

22                   Is this different than the one that was admitted

23      yesterday?

24                   MR. SHWEIKI:    Oh, Your Honor, you are correct.

25      That was previously admitted.       Thank you, Your Honor.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 87 of 145        3615


 1      Q.     Mr. Geist, if you can, please orient us.       You said that

 2      we're looking down towards the front gate.         What else are we

 3      viewing here?

 4      A.     This is another militia that had came in to help escort

 5      us to the airport, and you can also identify there's two

 6      local police cars that were there as well.

 7      Q.     The time stamp here is approximately -- it says 9:32.

 8      Is that consistent with your recollection about what time it

 9      was in the morning?

10      A.     Yes, sir.

11      Q.     And what exactly is your condition now -- oh, I'm sorry.

12      It's 6:32 on the video itself.       But the time stamp on the

13      video is generally accurate with regard to the time in the

14      morning it is?

15      A.     Yes, sir.   Yes, sir.

16      Q.     And what exactly is occurring at this -- where are you?

17      A.     Currently, I'm in the back of a white Hilux pick-up

18      truck inside the compound, and we're getting ready to pull

19      out.    And the vehicles that are there are going to help

20      escort us as additional security to get out to the airport

21      in case we had any problems on the way.

22      Q.     Let me play the video.

23                   (Video playing)

24      Q.     Do you see the first car that actually left?

25      A.     Yes, sir.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 88 of 145     3616


 1      Q.   Do you recognize that vehicle?

 2      A.   I believe it's a State Department vehicle.

 3      Q.   Do you see the second vehicle that just came out?

 4      A.   Yes.

 5      Q.   Do you recognize that vehicle?

 6      A.   Yes.   I believe that's another one of the State

 7      Department vehicles.

 8                  (Video playing)

 9      Q.   And the third?

10      A.   Yes, sir, the same.

11                  (Video playing)

12      Q.   And what about the fourth one that we saw?

13      A.   That's me right here laying down in the back.

14      Q.   Can you just use the -- oh.       You said you're laying down

15      in the back?

16      A.   Yes, sir.

17      Q.   And where actually are you headed at this point in time?

18      A.   We are headed out to the Benghazi airport.

19      Q.   Let me complete playing the video.

20                  (Video playing)

21      Q.   Are you aware what the other vehicles were that were

22      coming out?

23      A.   That last vehicle, the big -- we called it a bongo

24      truck, that had Ty and Glen and Ambassador Stevens -- or I'm

25      sorry, not Ambassador Stevens at that point.          It had Ty,
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 89 of 145       3617


 1      Glen, and Sean Smith.      It had their bodies on that.

 2      Q.    And were you able to arrive at the airport a short time

 3      later?

 4      A.    Yes.   It was approximately 13 miles, so it was a short

 5      distance.

 6      Q.    What happened when you got there?

 7      A.    When we pulled up, they came over to grab the stretcher

 8      that I was on, and I kind of pushed them away because I knew

 9      I could walk.     And I stood up, and -- I said, "I walked into

10      Benghazi, I'm going to walk out," and I stood up and walked

11      over to the plane.

12                   And then -- it was a civilian commuter jet that

13      they had been able to obtain, and I got up on the -- climbed

14      up the stairs, walked to the back of the plane, and laid

15      down on one of the couches that was in the very back of the

16      plane.

17                   And then, a short time later, they started to

18      bring Dave Ubben on.      And Dave is 6'3"/6'4", 230 pounds, and

19      they had him strapped to a gurney because he couldn't walk,

20      and they had to kind of turn him sideways to try to get him

21      into the plane, which was kind of difficult.          They got him

22      on, brought him back, and they laid him down right beside

23      me.

24                   And then the remaining of the nonessential or

25      nonshooting personnel boarded the plane, and we had an
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 90 of 145     3618


 1      assistant medic with us, and then we headed back to -- flew

 2      back to Tripoli.

 3      Q.   And at that point what was your condition?

 4      A.   I was still conscious.      I had the tourniquet on,

 5      which -- I mean, the tourniquet was the thing that probably

 6      hurt the most, you know, because to stop the blood you have

 7      to cinch that down to where the tourniquet basically is

 8      almost touching the bone.       It's pushing the skin and muscle

 9      all the way down to the bone.

10      Q.   At that point in time do you have any sort of motion in

11      your hand itself?

12      A.   No.   I couldn't do anything with it.       No feeling.

13      Anything from the tourniquet down was pretty much nothing.

14      Q.   And where was that flight to?

15      A.   It was to Tripoli.

16      Q.   Before we discuss Tripoli, you mentioned earlier that it

17      appeared to you that there were State Department vehicles in

18      the front.    Are you aware that those were State Department

19      vehicles or Annex vehicles?

20      A.   I don't recall.

21      Q.   And with regard to the airplane that you actually are

22      on, how long was that trip itself?

23      A.   I don't -- I think -- I mean, for me it seemed like a

24      day and a half just, I mean, because of the pain that I was

25      in, but I think it was about two hours.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 91 of 145   3619


 1      Q.   And what happened when you actually arrive in Tripoli?

 2      A.   When I arrived in Tripoli, there was an ambulance there

 3      and some other personnel from -- I believe they were from

 4      the embassy that had met me.       One of the guys I had asked to

 5      call my wife to make sure that she knew that I was alive,

 6      and then they took me to the hospital in Tripoli.

 7      Q.   Did you receive treatment in Tripoli?

 8      A.   Yes, sir.

 9      Q.   And are you aware of just the general nature of the

10      treatment that you received?

11      A.   They -- it was Libyan doctors at a Libyan hospital that

12      treated my arm.     They put on an external -- they call it an

13      external fixation device -- it's rods that go through and

14      hold the bone in place -- and then kind of bandaged it up.

15      And then they sewed up my neck because that was a pretty

16      significant injury there.

17                  And there were a couple of other little holes that

18      they had patched up, but they didn't require stitches at the

19      time.

20      Q.   What happened next with regard to your treatment?

21      A.   You know, I woke up from surgery there, and then we

22      loaded a U.S. military medical bird out of there and flew to

23      Germany.

24      Q.   Are you aware of what kind of airplane is that?

25      A.   I don't -- I believe it was a C4 or a C5, I'm sorry.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 92 of 145       3620


 1      Q.   Is that -- just to orient the jury, is that a large or

 2      small aircraft?

 3      A.   Very large aircraft.

 4      Q.   Let me show you what's been marked as Government's

 5      Exhibit 6 for identification purposes previously shown to

 6      defense counsel.

 7                  Do you recognize what Government's Exhibit 6 is?

 8      A.   Yes.   That's a picture of me on the gurney, and I

 9      believe that's Ambassador Stevens's body next to me.

10      Q.   Is that a fair and accurate representation of actually

11      the photograph of you as you recall it that particular day?

12      A.   Yes.

13                  MR. SHWEIKI:    Your Honor, at this time the

14      government moves into evidence Government's Exhibit 6.

15                  MR. ROBINSON:    Your Honor, as we stated at the

16      bench.

17                  THE COURT:    So moved.

18                  MR. SHWEIKI:    Your Honor, may I have it published

19      to the jury, please?

20                  THE COURT:    You may.

21      Q.   Are you conscious at this point?

22      A.   Yes, sir.

23      Q.   Are you continuing to receive any sort of care?

24      A.   Yes.   They didn't really have -- as long as I'm

25      conscious, that I'm -- they didn't really do anything.           I
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 93 of 145         3621


 1      did read in my medical reports later --

 2                   MR. ROBINSON:   Objection, Your Honor.

 3      Q.   Before you actually go into your medical reports, just

 4      talking in terms of the treatment that you received, where

 5      did you actually land?

 6      A.   We landed in Landstuhl, Germany.

 7      Q.   And did you receive any treatment there?

 8      A.   Yes.    Once I got there, they took me back into surgery.

 9      They had to redo everything that they did in the Libyan

10      hospital on my arm.      They also had to cut my stomach open

11      because I had shrapnel in my abdomen area.         They wanted to

12      make sure I didn't have anything -- any little holes on the

13      inside.     So they took everything out, kind of cleaned it up,

14      made sure there was no holes, kind of put me all back

15      together again and sewed it up, then treated a few of the

16      other -- the injury near my femoral artery, they operated on

17      that; took most of the shrapnel out of that, sewed that up.

18      Q.   Were they able to get all the shrapnel out of your body?

19      A.   No, uh-uh.

20      Q.   To this day, do you still have some shrapnel in your

21      body?

22      A.   Yes, sir.    I've got three pieces in my chest.        I've got

23      four or five in my left arm, a few others in my other arm, a

24      couple in my leg.

25      Q.   With regard to your arm itself, did you receive further
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 94 of 145            3622


 1      treatment with regard to its repair?

 2      A.   Yes, sir.    I was in Germany until approximately I think

 3      it was the 18th, and they kept me there just to get my blood

 4      levels because they weren't balancing out where I could

 5      transport again.

 6                  So finally I had a blood transfusion.        They then

 7      transported me from there to Walter Reed in --

 8      Q.   What kind of treatment -- just to orient the jury, where

 9      exactly is Walter Reed?

10      A.   Walter Reed is in Bethesda.

11      Q.   And also, just very brief, Walter Reed, what kind of

12      facility is that?

13      A.   It's a military hospital.

14      Q.   What kind of care did you actually receive there?

15      A.   I was in Walter Reed from -- when I got there on the

16      18th to October 6th, and I had surgery every other day.

17      They would -- my arm was pretty swollen up, and they had it

18      opened up from my wrist all the way up to my elbow, and they

19      would -- I'd go in for surgery, and if the swelling went

20      down, they'd try to sew it up a little bit.          They'd take out

21      some of the dead tissue, reconstruct a little bit on the

22      nerves and the tendons, putting them back together.              They'd

23      have -- I'd have a day off from surgery, and then I'd go

24      back into surgery the following day.

25                  On my days off, they started doing -- after about
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 95 of 145        3623


 1      the fourth or fifth day, they started doing physical therapy

 2      because my tendons in my hand -- because my fingers wouldn't

 3      move, so we ended up later having to work on that.           But we

 4      tried to stretch them out and make -- just keep the

 5      flexibility in the joints.

 6      Q.   Do you recall approximately how many surgeries you ended

 7      up having at Walter Reed?

 8      A.   I think I had 12 at Walter Reed.       Maybe 11.

 9      Q.   I'd like to direct your attention to what's been marked

10      as Government's Exhibit 7D and previously shown to defense

11      counsel.    Do you recognize what Government's Exhibit 7D is,

12      Mr. Geist?

13      A.   Yes, I do.

14      Q.   And generally, before we describe it further, what

15      exactly is that?

16      A.   That's a picture of my arm.

17      Q.   Is that a fair and accurate representation of the arm

18      and the way it looked as part of your procedures at Walter

19      Reed?

20      A.   Yes, sir.

21                   MR. SHWEIKI:   Your Honor, at this time the

22      government moves into evidence and for publication

23      Government's Exhibit 7D.

24                   THE COURT:   So moved subject to the discussion at

25      the bench.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 96 of 145            3624


 1      Q.   Mr. Geist, can you please explain what exactly are we

 2      looking at.

 3      A.   We're looking at my left arm and the incision or the

 4      damage that was done to it and the incision they had to make

 5      to open it up to get to everything inside.         This is probably

 6      a week to seven days -- five to seven days into the

 7      surgeries because they've got the first part sewed up.

 8                  And what we have there is a sponge with antiseptic

 9      beads on the inside kind of wrapped in with a suction tube

10      on it.

11      Q.   And that would be the darker area that's pictured on

12      your arm?

13      A.   Yes.

14      Q.   Let me show you what's been previously marked for

15      identification purposes as Government's Exhibit 7J.              Do you

16      recognize what we're looking at with 7J?

17      A.   Yes, sir.    That's my left arm after -- that should be

18      about October 5th or 6th before I got out of the hospital.

19      Q.   Is that a fair and accurate representation of how your

20      arm looked at that time?

21      A.   Yes, sir.

22                  MR. SHWEIKI:    Your Honor, at this time the

23      government moves into evidence Government's 7J.

24                  THE COURT:    So moved.

25                  MR. SHWEIKI:    And for publication, please.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 97 of 145        3625


 1      Q.     With the jury now viewing the photograph, Mr. Geist, can

 2      you actually please explain, what exactly are we looking at

 3      with regard to the nature of your injuries and treatment?

 4      A.     The spots up here on my upper arm were all holes from

 5      shrapnel, and then the train tracks or what I call the train

 6      tracks coming all the way down is where the initial injury

 7      was right here.      A piece of shrapnel went through, destroyed

 8      two inches of the radial bone, and shattered the ulna.           It

 9      also severed the median nerve and contused the ulna and

10      radial nerve.

11                    I pretty much don't have any feeling in the --

12      this half of my hand on the palm side, and maybe on a 1-to-

13      10 scale, maybe a 3 with my pinky and my little finger

14      because it's a different nerve that controls that than up

15      here.

16                    And this is where they had been in and out and

17      sewed it all up throughout the time I was at Walter Reed.

18      Q.     Were you continually receiving some physical therapy

19      during the course of that time?

20      A.     Yes, I was.

21      Q.     And was that the final extent of the treatment that you

22      received, the surgery that you received, with regard to your

23      arm?

24      A.     No.   After October 6th I was released to go home, and

25      that's when I finally got to get home to see my wife and my
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 98 of 145         3626


 1      family, my little girl.

 2                  I had follow-on treatment at the Air Force Academy

 3      outpatient surgery center there where we did outpatient

 4      therapy on it, and then December -- I don't remember the

 5      exact date, somewhere around the 10th or 11th -- I had to

 6      fly back to Walter Reed for another surgery.          They had to

 7      take bone off my hip to replace the two inches of bone that

 8      was missing in my arm, and then they took a nerve out of the

 9      back of my leg to replace the nerve that had been

10      disintegrated in my arm as well.

11      Q.   Mr. Geist, let me show you what's been marked as

12      Government's Exhibit 7Q for identification purposes.             Are

13      you able to recognize what we're looking at there?

14      A.   Yes.   That's the back of my left hand after having what

15      they call tendon release surgeries.

16      Q.   Mr. Geist, before you continue that description.

17                  MR. SHWEIKI:    At this time the government moves

18      into evidence Government's Exhibit 7Q and request

19      publication to the jury.

20                  THE COURT:    So moved.

21      Q.   Mr. Geist, please continue.

22      A.   Because of my hand not being able to move, the scar

23      tissue builds up under the tendons, and so we had to go

24      through and cut open each -- the back of each knuckle and go

25      in and scrape out a lot of the scar tissue, and then some of
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 1      them had to move the tendons over.

 2                   So instead of going across the knuckle, they kind

 3      of moved down underneath it, and that's why sometimes if I'm

 4      trying to -- it will kind of click like that.          So it's the

 5      tendon.    It just doesn't work right now, anymore.

 6      Q.   Mr. Geist, to this day have you regained full mobility

 7      with respect to your arm?

 8      A.   No, I haven't.

 9      Q.   About how much mobility do you actually have?

10      A.   With dexterity and use of it, maybe 15 percent, 20

11      percent.

12      Q.   All right.    Does it still affect your daily activities?

13      A.   Every day.

14                   MR. SHWEIKI:    Your Honor, no further questions.

15      Thank you.

16                   THE COURT:   Mr. Robinson.

17                   MR. ROBINSON:   Thank you, Your Honor.

18                                CROSS-EXAMINATION

19      BY MR. ROBINSON:

20      Q.   Good afternoon, Mr. Geist.

21      A.   Good afternoon.

22      Q.   I'm just going to ask you a few questions about some of

23      the things you testified to.

24      A.   Yes, sir.

25      Q.   At some point after you had returned to the Annex from
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 100 of 145       3628


 1       escorting the case officer, you testified that there was an

 2       individual who approached the Annex that you let in.

 3       A.   Yes, sir.

 4       Q.   That's an individual who was the leader of your

 5       security -- of the local security force?

 6       A.   Yes, sir.

 7       Q.   And you let that individual in because you trusted him

 8       as much as you can trust anybody in that area?

 9       A.   Yes, sir.

10       Q.   Did you have some concerns about all of the locals and

11       how much you can trust them given the nature of the area?

12       A.   Well, not just the nature of the area.        It also depends

13       on how much contact and interaction I've ever had with them

14       personally.

15       Q.   And so that individual came in.       And was that before the

16       remainder of the GRS team had arrived back at the Annex?

17       A.   Yes, sir.

18       Q.   Okay.    And so when that individual came in, he came and

19       told you that you needed -- that the facility needed to be

20       abandoned because they were going to come for you next; is

21       that correct?

22       A.   Yes, sir.

23       Q.   You talked a little bit about the fire fights and the

24       attacks that occurred while you were manning the fighting

25       position on the east wall.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 101 of 145   3629


 1       A.   Yes, sir.

 2       Q.   And how many attacks occurred while you were manning the

 3       position on the east wall?

 4       A.   Two, sir.

 5       Q.   And the first one was -- GRS team had returned by this

 6       time, correct?

 7       A.   Yes, sir.

 8       Q.   How long had they been back?

 9       A.   Approximately half hour, 45 minutes.

10       Q.   Okay.   And -- so you were manning the positions, and you

11       spotted people moving out in the field to the east, correct?

12       A.   Yes, sir.

13       Q.   And so you were a half hour, 45 minutes -- so between

14       midnight and 12:30?

15       A.   I didn't have a watch, so that would be --

16       Q.   Okay.

17       A.   I'm just guessing at the approximization.

18       Q.   But you know it was after they returned, and you're

19       approximating somewhere between a half hour and 45 minutes?

20       A.   Yes, sir.

21       Q.   Now, you talked about the first attack.

22                    And then there was a second attack that occurred

23       while you were manning that fighting position; is that

24       correct?

25       A.   Yes.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 102 of 145   3630


 1       Q.   In between those attacks, is that when you saw the two

 2       individuals walking around?

 3       A.   Yes.    I believe that's when it was.     That's what I

 4       testified to.

 5       Q.   And you testified to it.      That's your best memory?

 6       A.   Yes, sir.

 7       Q.   So a fire fight had occurred already, correct?

 8       A.   Yes, sir.

 9       Q.   And there were just two individuals walking back and

10       forth.

11       A.   Yes, sir.

12       Q.   And they didn't just go from one place to another, but

13       they went, and they came back and forth?

14       A.   I think they went back and forth maybe like twice.

15       Q.   Okay.

16       A.   Walked from one side over, then walked back.

17       Q.   Okay.    You saw them, but you took no action towards

18       them?

19       A.   Correct, sir.

20       Q.   They didn't have any weapons.

21       A.   Right.

22       Q.   You could see their hands?

23       A.   I couldn't see their hands, but I could identify that

24       they didn't have any weapons; or if they did, they were

25       either hidden and it wasn't a threat to me, so I'm not --
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 103 of 145    3631


 1       I'm going to err on the side of caution.

 2       Q.   Which is what you did all the time.       If people didn't

 3       present a threat, you didn't take action against them,

 4       correct?

 5       A.   Yes, because that's -- I mean, that was my job.

 6       Q.   Yes.    Now I want to talk to you a little bit about the

 7       attacks.     Now, you're down on Building 3?

 8       A.   For the last attack, yes, sir.

 9       Q.   The last attack.     And you were looking -- you're facing

10       north into the sheep facilities to the north, correct?

11       A.   The sheep -- I couldn't see the sheep pens at that point

12       from where I was at on Building 3, but I could see down the

13       alleyway that was on the -- which would be the west side of

14       those Quonset huts.

15       Q.   Just so it's clear, why don't you look at what's already

16       been introduced as Government's Exhibit No. 141.

17       A.   Okay.    Yes, sir.

18       Q.   Okay.    And so you're on Building 3.

19       A.   Yes, sir.

20       Q.   And you're looking facing towards the Quonset hut?

21       A.   Yes, sir, towards these buildings right here.

22       Q.   Right.    And so you could see -- what you said is you

23       could see down -- you could see down the alleys to the left

24       and right of that building, correct?

25       A.   Not to the right.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 104 of 145      3632


 1       Q.   Okay.

 2       A.   Because the buildings would prevent my view going in

 3       this direction.

 4       Q.   Okay.

 5       A.   Other than maybe over to here.       But my focus -- because

 6       Dave Ubben was on this corner, and Tig was still down in the

 7       elevated position of 3, covering that area, so my focus was

 8       down in this direction right here and this over here, any of

 9       that area.

10       Q.   Okay.    So looking at it, it would be to the left?

11       A.   Yes, sir.

12       Q.   And so you were up there starting at about 2:30?

13       A.   Approximately, as best as I can recollect.

14       Q.   You didn't have a watch on so you're not giving exact

15       times.

16       A.   Right.

17       Q.   But around 2:30?

18       A.   Yes, sir.

19       Q.   And between the time that you first got there and the

20       time that the GRS team from Tripoli arrived, did you see any

21       activity in the areas that you were observing?

22       A.   Not down that way, I didn't.

23       Q.   Or any way.    You didn't see any activity outside the

24       perimeter?

25       A.   Well, I wasn't -- I can't testify to anything else other
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 105 of 145   3633


 1       than the direction I was facing.

 2       Q.   Right.   No, I'm sorry.    I'm just saying you didn't see

 3       anything.

 4       A.   Correct.

 5       Q.   You don't know if something else happened, but you

 6       didn't see anything?

 7       A.   Correct.

 8       Q.   Because you weren't focused in that direction?

 9       A.   Yes, correct.

10       Q.   And so the team from Tripoli arrives, and it's shortly

11       after they arrive that you have the first RPG strike?

12       A.   Yes, sir.

13       Q.   You hadn't been firing -- had you been firing before the

14       RPG strike hit?

15       A.   Not during that attack.

16       Q.   Not during -- and for now these questions are only going

17       to be about the attack while you were on Building 3.

18       A.   Yes, sir.    Correct.

19       Q.   Okay.    So you hadn't been firing before, so that was the

20       sort of start of the fire fight?

21       A.   Yes, sir.

22       Q.   And you fired -- you responded to being attacked by

23       firing into the areas that you were covering, correct?

24       A.   Yes.    I was shooting at the muzzle flashes and over

25       where the enemy fire was coming from.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 106 of 145       3634


 1       Q.   And so you were firing back, and after that RPG attack,

 2       there's the first mortar that strikes on the wall -- on the

 3       compound wall, correct?

 4       A.   Yes.    It was -- I think it was maybe 30 seconds to a

 5       minute from the RPG hitting the back wall to the first

 6       mortar hitting the back wall.

 7       Q.   Okay.   And then a second mortar hits.       That's the first

 8       mortar that lands on the roof, correct?

 9       A.   Yes, sir.

10       Q.   At one point -- you testified and you demonstrated for

11       us that you reloaded.       Was that between that mortar that hit

12       the wall and the mortar that hit the roof?

13       A.   Yes, sir.

14       Q.   Okay.   So there was some period of time between that

15       first mortar where you were firing and you were out of

16       ammunition, correct?

17       A.   Yes, sir.

18       Q.   You went down, you reloaded, you came back up, and it

19       was after you came back up that the mortar hit -- the first

20       mortar hit the roof; is that correct?

21       A.   Yes, sir.   Yes, sir.

22                    MR. ROBINSON:    That's all I have.

23                    THE WITNESS:    Thank you, sir.

24                    MR. ROBINSON:    Thank you.

25                    THE WITNESS:    You're welcome.
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 1                   THE COURT:    Mr. Shweiki.

 2                                REDIRECT EXAMINATION

 3       BY MR. SHWEIKI:

 4       Q.   Mr. Geist, you actually referred to local security.         You

 5       did have to rely upon local security in order to supplement

 6       the security posture of the actual Annex facility itself?

 7       A.   No.   Their primary purpose was if anybody came up and

 8       was knocking on the door and wanting to talk to somebody or

 9       asking about anything, it was a local face being able to

10       talk to locals.

11       Q.   And there were some individuals that you were able to

12       develop relationships with?

13       A.   Yes, sir.

14       Q.   And there's some individuals that you were able to

15       develop more trust with than others?

16       A.   Yes, sir.

17       Q.   And also, with regard to your general recollection with

18       regard to specific times, would you rely upon your general

19       recollection going back to that particular evening or to the

20       video time stamps that are on the camera's video itself?

21       A.   With everything going on, I'd have to rely on the video

22       time stamps.

23       Q.   Thank you.

24       A.   You're welcome.

25                   THE COURT:    Sir, thank you very much for your
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 108 of 145        3636


 1       testimony.    You're excused.     Please don't discuss your

 2       testimony with anyone until the case is over.

 3                    THE WITNESS:   Thank you, sir.

 4                    THE COURT:   Okay.   Have a good day.

 5                    MR. SHWEIKI:   Your Honor, may we approach briefly?

 6                    THE COURT:   You may.

 7                    (The following is a conference held at the

 8                    bench outside the hearing of the jury)

 9                    MR. SHWEIKI:   Your Honor, what might make the most

10       sense, we think, is to actually, if the Court is amenable,

11       take a lunch break now so we'll have -- rather than

12       breaking, or if the Court wants to move forward.          I just

13       don't -- I don't think we'll be able to get -- we'll -- it's

14       going to be at least an hour or two, maybe an hour and a

15       half.

16                    THE COURT:   So why don't we get started.      And the

17       reason I say this is -- I was going to mention it to you all

18       at lunch -- that there's going to be a fire drill this

19       afternoon.    We'll talk about that later and how we're going

20       to handle it --

21                    MR. SHWEIKI:   Okay.

22                    THE COURT:   -- with respect to the jury and the

23       defendant.    So I'd rather press on if your guy's available.

24                    MR. SHWEIKI:   Sure.    That's fine, Your Honor.

25                    I'm actually doing the next witness, too, so they
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 109 of 145          3637


 1       can actually -- I just need a few minutes to actually set

 2       up; so however the Court wants to handle it.

 3                   THE COURT:   That's fine.

 4                   (This is the end of the bench conference)

 5                   THE COURT:   All right.    Ladies and gentlemen, the

 6       government just needs a few minutes to set up for the next

 7       witness so we're just going to hang out and wait for them.

 8       Okay?

 9                   (Pause)

10                   THE COURT:   So Juror 14, have you talked to your

11       students?    Grading papers?

12                   JUROR NO. 14:    I have, indeed, yes.

13                   THE COURT:   How's that going?

14                   JUROR NO. 14:    That's what my weekends are.        It's

15       a good time.

16                   THE COURT:   Juror 8, how are we doing?

17                   JUROR NO. 8:    Fine.

18                   THE COURT:   We could use your help on the

19       technical issues.

20                   JUROR NO. 8:    I know.

21                   THE COURT:   We're going to put you to work if

22       you're not careful.

23                   (To the interpreters) How are you folks doing?

24       You okay?

25                   THE INTERPRETERS:     Doing well.
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 1                    THE COURT:    Good.

 2                    Welcome, sir.    Please step up.

 3                    Mr. Shweiki, do you want to call your next

 4       witness?

 5                    MR. SHWEIKI:    Yes, I do, Your Honor.     If I can

 6       have a minute, I just have some video.         I just want to make

 7       sure it loads up.     Talking about technical issues.

 8                    THE COURT:    Why don't you have a seat.

 9                    THE WITNESS:    Yes, sir.

10                    MR. SHWEIKI:    Thank you, Your Honor.

11                    At this time the government calls United States

12       Air Force Sergeant William Brigham to the stand.

13                    THE COURT:    Mr. Brigham, please stand and raise

14       your right hand.

15                        SERGEANT WILLIAM BRIGHAM, Sworn

16                                 DIRECT EXAMINATION

17       BY MR. SHWEIKI:

18       Q.   Good afternoon.

19                    THE COURT:    Sergeant Brigham, feel free to pour

20       yourself some water.

21       Q.   Good afternoon.      Will you please introduce yourself to

22       the jury, and please spell your full name.

23       A.   Hi.    I am Tech Sergeant Will Brigham, United States Air

24       Force.     It's spelled W-I-L-L-I-A-M, B-R-I-G-H-A-M.

25       Q.   Where do you work?
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 1       A.   United States Air Force.

 2       Q.   And what's the general nature of your duty position

 3       right now?

 4       A.   I'm a flight chief.

 5       Q.   When did you start with the United States Air Force?

 6       A.   I joined the Air Force June 15, 2004.

 7       Q.   Okay.    Was that -- what year did you actually start with

 8       the United States Air Force itself?

 9       A.   2004.

10       Q.   And what was your position when you started in 2004 with

11       the United States Air Force?

12       A.   When I first joined the Air Force, I obviously went

13       through basic training, tech school.        I started off as an

14       aircraft maintainer or a flight line mechanic.

15       Q.   What exactly does that mean, to be a flight line

16       maintainer?

17       A.   You're the person servicing the aircraft, the person

18       maintaining all the maintenance of documentation and

19       basically just making sure it's fully mission-capable, ready

20       to fly.

21       Q.   And how long were you in that position itself?

22       A.   I did that for about six years before I retrained.

23       Q.   Did there come a time that you actually switched your

24       duty positions?

25       A.   Yes, sir.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 112 of 145   3640


 1       Q.   And what did you change your duty position to?

 2       A.   I became a sensor operator.

 3       Q.   What exactly is a sensor operator?

 4       A.   In 2009 I initiated my retraining package to be a sensor

 5       operator on remotely piloted aircraft.

 6       Q.   So what is a remotely piloted aircraft?

 7       A.   So you may be familiar with a regular aircraft with a

 8       pilot inside of it.     Remotely piloted aircraft do not

 9       generally have a pilot inside of them.        Their crew is

10       remotely located, and we can fly them from any point in the

11       world.

12       Q.   And with regard to remotely piloted aircraft, what is

13       the relationship with regard to a sensor operator?

14       A.   So you have a two-person crew to fly one of these

15       aircraft.    They're commonly known as the Predator, the

16       Reaper; you may have heard of those before.         You have a

17       pilot and a sensor operator.

18                   The pilot is the person flying the actual

19       aircraft, and the sensor operator is in charge of all the

20       sensory payloads, the cameras and any other additional

21       equipment we may have installed on the aircraft.

22       Q.   Do the pilot and the sensor operator work in tandem with

23       each other?

24       A.   Yes, sir, they do.     As a matter of fact, I would sit

25       closer to my pilot than me and the woman in front of me are
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 113 of 145    3641


 1       sitting right now.     We actually have what's called a ground

 2       control station.

 3                   So you're sitting in very close proximity to the

 4       person you're working with, and we actually communicate via

 5       headset or you can, you know, put the microphone up and

 6       actually speak to the person sitting next to you.

 7       Q.   What type of training did you receive in order to be a

 8       sensor operator?

 9       A.   So it's about three months of classroom training for

10       that, and then you have between four to five months of

11       simulator and then actual flight instruction.

12       Q.   You said a simulator.     What are you referring to?

13       A.   So a simulator basically is the same equipment that I

14       would use to fly the aircraft, but it's computer-generated.

15       It uses a lot of hardware based off a database that we have

16       built to do, like, training programs so you have more

17       control over the actual scenario itself.

18       Q.   And at that point in time are you supervised during

19       those simulated flights?

20       A.   There are instructors with you the entire time.         So

21       they're over the shoulder monitoring you making sure you're

22       doing what you're supposed to be doing.

23       Q.   Did there come a time when you actually became a fully

24       mission-qualified sensor operator?

25       A.   Yes, sir.   That was the spring of 2010.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 114 of 145     3642


 1       Q.   What does it mean to be fully mission-qualified?

 2       A.   Fully mission-qualified means that you can fly the

 3       aircraft and operate the systems on your own, unsupervised.

 4       So basic crew pilot sensor operator, no one watching you.

 5       Q.   With respect to the type of work that you do as a sensor

 6       operator, is it done continuously 24 hours a day, seven days

 7       a week?

 8       A.   Yes, sir.    We refer to that as shift work, so anyone

 9       that's worked in a factory, or something of that nature, you

10       actually have three shifts, eight hour shifts.         You're

11       covering 24/7 ops, is what we like to call is, 24/7

12       operations.    So holidays, weekends, anything like that,

13       there's someone at work.

14       Q.   And are there shift schedules in order to guarantee that

15       24-hour continuation?

16       A.   Yes, sir.

17       Q.   Are you aware of the term "shift lead"?

18       A.   Yes, sir.

19       Q.   What exactly is that?

20       A.   So the way we work things is we have, you know, a whole

21       bunch of crews.     You're flying multiple aircraft at the same

22       time in the same area sometimes.

23                   You have what's called a shift lead.        That's going

24       to be the most experienced person on the shift or the

25       highest-ranking or both, depending on what you're doing that
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 115 of 145       3643


 1       day and depending on what's at work.

 2       Q.   And do you provide any sort of supervision at that

 3       particular time with others as part of the shift lead

 4       position?

 5       A.   Absolutely.    My job as an NCO is basically to, you know,

 6       monitor the younger airmen and kind of help mentor them a

 7       little bit and make sure that they're doing what they're

 8       supposed to be doing.

 9                   At the same time, I'm also the most experienced

10       guy there, so that being said, I'm going to use that

11       experience to try to teach them a little bit.

12       Q.   And have you ever heard the term "over-the-shoulder

13       supervisor"?

14       A.   Yes, sir.

15       Q.   What exactly does that mean?

16       A.   So basically what you can do, if a person's fully

17       mission-qualified, I can still sit in the ground control

18       station with them and over-the-shoulder them.         We call it a

19       spot check sometimes.

20                   I actually can log time doing that.       I can log

21       flight time.     Even though I'm not operating the controls

22       myself, I'm still teaching.       I'm still mentoring.     I'm still

23       trying to help them grow because we can always be better.

24       Q.   Have you ever acted as a shift lead?

25       A.   Yes, sir.
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 1       Q.   And is that a position, as a shift lead, that you have

 2       done on a variety of occasions?

 3       A.   That's multiple times, yes, sir.

 4       Q.   Did there come a point in time when you also became

 5       qualified as a flight instructor?

 6       A.   Yes, sir.

 7       Q.   What exactly does that mean?

 8       A.   So when you become qualified as a flight instructor, I

 9       actually taught in my squadron that I was at at the time,

10       and then I got qualified to be a flight training unit

11       instructor also, so I go down to the school house and

12       actually teach brand-new airmen how to fly aircraft.

13       Q.   How many hours have you logged as part of your work as a

14       sensor operator?

15       A.   Over 2,100 at this point.

16       Q.   Turning now to, like, the camera system itself.         Can you

17       please provide us more detail with regard to the type of

18       camera system that operates on these remotely piloted

19       aircraft?

20       A.   So if you've seen a standard security camera, you have,

21       you know, normal -- we call it electrooptical.         You'd call

22       it just a video camera, a day TV camera, and that looks

23       pretty normal.

24                   We also have what's called an infrared camera.

25       That's heat vision.     So if I were to see someone carrying a
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 117 of 145      3645


 1       cigarette or an engine on a car running, muzzle flashes off

 2       a weapon, you can see all that stuff in pitch black of night

 3       without ever having to use the light source.         So you get a

 4       lot more fidelity off the picture that way, especially

 5       during the middle of the night, right?

 6                   There's other cameras on there, but for today's --

 7       for today's demonstration, for today's purposes, we don't

 8       really need to go over that.       Those two are the main ones

 9       that we use.

10       Q.   With respect to the camera feeds itself, is that a

11       continuing recording process?

12       A.   So the feed that I get is actually real-time.         So

13       regardless of where the aircraft is in the world, that

14       picture's getting sent back to me real-time regardless of

15       where I'm at and regardless of where the aircraft is at.

16       Q.   And what happens after you're viewing the videotape

17       with the camera?     Is that the end of the line for that

18       particular --

19       A.   So it comes directly to the ground control station, but

20       after that, we have the ability, given the technology that

21       we have, to disseminate that feed anywhere that we see fit.

22       It will go to other Air Force agencies most times.

23       Q.   And is there any way to disengage the continuous

24       operating of these particular camera systems?

25       A.   No.
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 118 of 145   3646


 1       Q.   And with regard to the time clocks that are actually

 2       set, the real-time nature of them, is that indicated on the

 3       camera view that you're actually watching itself?

 4       A.   Yes, sir.

 5       Q.   And is there any way to disengage that in any way?

 6       A.   So there's a time stamp that comes with that feed after

 7       it comes to the ground control station, and there is -- you

 8       cannot change any of that.      It's all hard set and

 9       programmed.    The system has to have that in order to

10       function.

11       Q.   With respect to the sensor operator, what type of

12       control does that individual have over the camera that is

13       actually in play on an aircraft?

14       A.   So the pilot flies the aircraft essentially like a bus

15       driver.   So he's taking the plane where it needs to go.

16                    The sensor operator is the one operating the

17       cameras, so when I want to look around, when I want to do an

18       aircraft check, if I find a particular item of interest, I'd

19       like to follow a vehicle, a person, I have the ability to do

20       that by hand.

21                    You actually have to.    There's no preprogrammed

22       system developed yet for that to automatically follow

23       something.

24       Q.   With respect to what could be particular items of

25       interest, do you just receive training with regard to that?
     Case 1:14-cr-00141-CRC Document 432 Filed 10/27/17 Page 119 of 145     3647


 1       A.     Yes, sir.

 2       Q.     And also do you develop that over the course of your

 3       experiences?

 4       A.     Yes, sir.   Of course a brand-new airman's not going to

 5       have the same type of eye trained that I would after 2,100

 6       hours in teaching and that kind of experience.

 7       Q.     Also with respect to the particular items of interest,

 8       do you receive any sort of briefing as to what exactly is

 9       going to be the nature of the camera feed that you're going

10       to be reviewing that particular shift?

11       A.     We arrive at work.   Like I said, we work in shifts.      And

12       when you arrive to work, you get what's called a mission

13       brief, and we'll go over particular items of interest,

14       particular objectives, and particular supported units that

15       we'll be working for that day.

16       Q.     I'd like to direct your attention, if I could, now to

17       September 11, 2012.     Were you actually working on that

18       particular day?

19       A.     Yes, sir.

20       Q.     How were you working?

21       A.     I actually was in the seat for a portion of time that

22       day.

23       Q.     When you say "in the seat," what does that mean?

24       A.     I was in control.    I was a sensor operator of the

25       aircraft.
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 1       Q.   Are you aware if there was any particular items of

 2       interest that you actually became advised of as part of your

 3       mission briefing?

 4       A.   Yes, sir.

 5       Q.   And what did you become aware of?

 6       A.   It was brought to our attention that there was an attack

 7       going on in the area of Benghazi on the United States

 8       Consulate.

 9       Q.   And did you actually operate particular feed with regard

10       to that incident?

11       A.   Yes, sir.

12       Q.   Please describe what exactly you did as part of your

13       work.

14       A.   So we did what's called overwatch, and that's just kind

15       of getting a general overview, seeing what's going on in the

16       area.   We were directed to shift eyes -- and what I mean by

17       that is move my camera -- over to the particular building to

18       see what was going on.

19                    We were directed then to follow certain

20       individuals and make sure that we could just establish what

21       we call patterns of life.      So basically when someone's doing

22       something, you want to figure out what they're doing.            You

23       want to figure out the nature of their activities.

24       Q.   Were you actually oriented as part of your work to a

25       state -- United States department facility in Benghazi,
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 1       Libya?

 2       A.   Yes, sir.

 3       Q.   And what exactly was the nature of your work with regard

 4       to that diplomatic facility?

 5       A.   We were to look at that and, again, perform overwatch

 6       and see what was going on, develop a better idea of the

 7       activities that were going on.       Because a lot of people were

 8       unsure as to what exactly was going on in that area at the

 9       time.

10       Q.   Right.    And when you say that you were in the seat, does

11       that mean that you were actively controlling the camera at

12       that time?

13       A.   I was -- yes, I was the primary operator at that time.

14       Q.   All right.    Was that the full extent of your work

15       with regard just to like -- excuse me, with regard to the

16       actual -- the diplomatic facility at that time?

17       A.   Yes, sir.

18       Q.   And did there come a time that you actually were

19       involved in the same capacity, as a sensor operator or shift

20       lead, with regard to reviewing additional video that was

21       occurring around Benghazi?

22       A.   Yes, sir.    So I guess I'll explain how the two aircraft

23       we had on station at that time worked.

24                     I was in the control of one of them.      Obviously

25       planes can't run on gas forever, right?        You have to land
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 1       and refuel.    There's only one gas station we can go back to,

 2       so we had to go back to base with that aircraft.

 3                   I have the ability to get out of the seat after

 4       that happens and go talk to the person that was coming on.

 5       We're trying to replace air coverage so I actually back-

 6       briefed them on what to expect, what I saw, and what I got

 7       out of the situation itself.       That way they're not going in

 8       blindly.

 9                   You know, there's only so much you can get from an

10       intelligence brief, but I was actually looking at it, seeing

11       it myself, so...

12       Q.   In addition to that back-brief, did you actually stay

13       around to actually manage the interactions that that

14       operator had with regard to the feed as well?

15       A.   Yes, sir.   I was actually -- so that back-brief was

16       quite lengthy due to the fact of all the activities that

17       were going on.    I wanted to make sure that we did a good job

18       and had a good what I call handover brief.

19       Q.   Looking back at that particular time, do you have a

20       specific recollection as to what you were actually viewing

21       that particular day?

22       A.   In reference to --

23       Q.   The type of cameras and the general nature of what you

24       actually --

25       A.   When I was in the seat, or when I was over the shoulder?
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 1       Q.   Let's start with when you were in the seat.

 2       A.   When I was in the seat, I was actually watching a

 3       building, and it looked like they were under siege.          There

 4       was fire coming out of the windows, and I saw at least a

 5       four-man fire team on the roof of that building.

 6       Q.   And do you have a recollection as to what exactly

 7       occurred while you were actually acting as the shift lead

 8       with regard to the other facility itself?

 9       A.   Yes, sir.   We watched a convoy for a little bit, a

10       convoy of trucks, and they pulled up to a large compound

11       with multiple buildings, kind of an empty area in the

12       middle, and they were engaged multiple times in that

13       situation, in that location.

14       Q.   During the course of your preparations for today's

15       testimony, did you have the opportunity to review videotape

16       recordings related to the footage that was taken over the

17       second facility that you actually just described?

18       A.   Yes, sir.

19                   MR. SHWEIKI:    Your Honor, may I approach?

20                   THE COURT:   You may.

21       Q.   Sergeant Brigham, can you tell me if you actually

22       recognize what I just placed in front of you?

23       A.   Yes, sir.   This is a CD with my signature on it dated

24       for today, but with the videos that I've reviewed.

25       Q.   And is that a fair and accurate representation of the
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 1       videos that were taking of the aerial footage from the

 2       second facility that you actually just referenced?

 3       A.   It absolutely is.

 4                   MR. SHWEIKI:      Your Honor, at this time the

 5       government moves into evidence Government's Exhibit 304-2.

 6                   MS. PETERSON:     No objection.

 7                   THE COURT:    So moved.

 8                   (Pause)

 9                   THE COURT:    Should we take our lunch break?

10                   MR. SHWEIKI:      Your Honor, this would be a great

11       time.

12                   THE COURT:    Okay.    Why don't we take our lunch

13       break, and when we get back, these will be queued up, and

14       we'll be ready to go.      Okay?

15                   No discussions about the case.       No research about

16       the case.    Have a great lunch, and why don't we reconvene at

17       quarter to 2:00.      Okay?

18                   (Jury exits courtroom)

19                   THE COURT:    Okay.    See you at quarter of 2:00.

20                   MR. SHWEIKI:      Thank you, Your Honor.

21                   (Lunch recess taken at 12:40 p.m.)

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 1                    CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                        I, LISA A. MOREIRA, RDR, CRR, do hereby

 4       certify that the above and foregoing constitutes a true and

 5       accurate transcript of my stenographic notes and is a full,

 6       true and complete transcript of the proceedings to the best

 7       of my ability.

 8            Dated this 26th day of October, 2017.

 9

10                                         /s/Lisa A. Moreira, RDR, CRR
                                           Official Court Reporter
11                                         United States Courthouse
                                           Room 6718
12                                         333 Constitution Avenue, NW
                                           Washington, DC 20001
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